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. UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

GARRISON JONES

Plaintiff,

V.

VELOCITY TECHNOLOGY SOLUTIONS, et al

SHAUNA COLEMAN, individually

and as H.R. Director of Velocity Technology
Solutions; CHRIS HELLER, individually and
as General Counsel of Velocity Technology
Solutions; STEVEN KLOEBLEN,
Individually and as CEO of Velocity
Technology Solutions; MICHAEL
BALDWIN, individually and as an employee
of Velocity Technology Solutions.
Defendants.

Case No. 2:19-cv-02374-KJM-EFB

Date: June 3, 2020

Time: 10:00 a.m.

Place: 8

Complaint Filed: November 25, 2019

Trial Date: None Set

Judge: Hon. Edmund F. Brennan

 

MAY 2 2020
cast At MRO GP Satire

AMENDED MOTION RESONSE TO DENY DEFENDANT MOTION TO

DISMISS CLAIMING INSUFFICENT SERIVCE

I. INTRODUCTION

II.

Any motion submitted to the court must contain sufficient factual matter and
allegations that can be accepted as true to survive its intended purpose and claims.
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Defendants’ motion does not come remotely close to or contain any truth what so ever

that the court can entertain it at any hearing as they will not be able to submit to the
court not only their beliefs or truth, but the court even prior to said hearing should
review the evidence and readily available access to the Pacer system for it contains
multiple exhibits that can counter the defendants false claims. In the courts
preliminary review of these evidentiary evidence, the court will find that the defendants
motion is baseless, without merit and its only intended purpose is to commit fraud on
the court , which is their documented history in doi9ng so in defense of this client.
Defendants and their attorneys are still on their reign of fraud where the plaintiff in
support of this motion to deny said motion before the court, will submit to the court
multiple fraudulent claims and documents made by the defendants that will show and
illustrate a disturbing continuous, vindictive, pattern of hate, racial discrimination,
fraud, retaliation, intimidation, hate the plaintiff has endured over the past (4) years
from the defendants and their attorneys. All such hate is in their efforts to escape the
inevitable.

The current pandemic has flushed out even more unlawful criminal activity by the
defendants, that will lead to state and federal indictments and prison terms for not only
Velocity executives and employees, but also for multiple executives or several multi-
billion dollar organizations, who knew of the illegal criminal acts by Velocity and are
directly or indirectly involved in the illegal activity and in the racial discrimination of
the plaintiff where all knew of its existence and all failed to stop it.

In their efforts in submitting and making false claims against the plaintiff that, they
submitted to AZDES and the Arizona Court of Appeals, where after they have
repeatedly lost appeal hearings, they attempted to make a false claim that would have
resulted in the plaintiff wrongfully accused of a felony to send him to prison.

They pulled out all stops and was so desperate that they would revert to falsely
accusing him of a felony to stop him from receiving unemployment benefits in the
amount of $240.00 per week, after they terminated him from his employment and not
for any reason of misconduct but for in retaliation of exercising his protected right
not to participate in illegal criminal activity by Velocity executives and employees.
In this day and age where multiple technology firms are inventing and providing
technology solutions to further advance the human race, there are firms like Velocity
who instead of embracing these advancements, they chose to steal from the firm that is
making the advancement for no more than American Greed, then when anyone opposes
their illegal acts, they come after him with everything they have and in any way they

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have available to them all or a sum less that the hour y rate they are paying the law

firm who they have chosen to represent them who have been in unison with them in
committing fraud and violating the plaintiffs’ rights given to him by this country

STATEMENT OF RELEVANT FACTS

The history shows that the case was filed on May 8, 2018 and for, during that time the
waiver was sent and not responded to nor did the defendants file any motion to dismiss
and in fact were in default before the attorney filed their appearance on August =16,
2018, they did not respond as an “over abundance of caution of being in t default in
that case but kept a close eye on the proceedings even before the filed their appearance.
IN fact the attorneys were from June thru August were actively engaged and
represented the defendants in multiple failed appeals with (AZDES) Arizona
Department of Economic Security for the past 3 months.

Their failure to mention the waiver and failure to respond does not diminish or negate
the rules and efforts by the plaintiff to force them to plead. The defendants did receive
the complaint and the waiver. They again saw that they have once again been caught
violating the law and the rights of the plaintiff and if they “officially” responded to the
complaint and or lodged a counter claim that it would be completely false as they had
no evidentiary support of any exhibits, evidence nor could they offer any testimony
that would counter any of the plaintiffs allegations because they knew he had
supporting documentation and or exhibits.

The motion of May 4, 2020 is simply a desperate futile attempt not to answer the
complaint claiming defects in the method of service, however per the rules of Rule 4
where the plaintiff executed the proper procedures, the defendant have already been
served and their motion is effectively not only moot but meritless and does not qualify
as an answer to the complaint and should be dismissed in its entirety for the same
reason.

Their answer or motion was not to attack the insufficient of service, as they knew they
were in default. Their defense against the service on the registered agent is moot and
irrelevant as the complaint they received and filed with the court per Rule 4 (4) Results
of filing a waiver, which the plaintiff did clearly state that

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When the plaintiff files a waiver proof. of service is not required and ¢ ese rules

apply if a summons and complaint had been served at the time of filing.

So as of December 11, 2019 at the time of filing defendants were served with the
summons and complaint. With the supporting documents from the USPS service and
the fact that none of these mailings and or documents were returned “undeliverable” or
other5 months and typical of the tactics of the defendants’ he knew they would never
respond and would completely ignore but also keeping an eye on this litigation.

If he had not initiated this process, the defendants would have never responded.

As in the case in the Northern District of Illinois, even though they claim and hide
under “the process and procedure of serving a complaint or summon”

In that case, they did not follow the waiver process or procedure but filed their
appearance to lawsuit as if they had been served properly. It seems ambiguous that
they would now make such a claim in this case and not in another. Their inconsistent
interpretation of the law and its requirements is the reason their client is in default and
inconsistent as such wise, all claims and efforts to claim improper service is irrelevant
and their motion should be denied.

The plaintiff only initiated this action to the registered agent because for over If the
plaintiff had no the defendants would have continued to not respond to the complaint
as if it never existed.

Furthermore, defendant attorney clearly identified his role as SPECIALLY
APPEARING In addition, as such his pleading is recognized as a preliminary motion,
for the sole purpose is, and was to challenge jurisdiction. They will attempt to file
another preliminary motion because this one will be dismissed as it was for an
improper purpose and not what is claimed on the face of the motion.

As pursuant to FCRP Rule 12 (g) (2)

The defendant will attempt but is barred from submitting other preliminary motions
and limited to the motion submitted in this case. Therefore, their rush to dismissal is
obvious because they know they do not have a chance in winning said case, especially
with the undisputed evidence in the possession of the plaintiff.

It is obvious and as expected, the defendants want to “end this case” by its attempts to
attack the defect service and not the allegations /
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Claims in the complaint, as they are true. It is simply a desperate attempt to avoid and

was not done as they claim as an overabundance of caution, but to escape / avoid
having to litigate or go to trial knowing that the evidence by the plaintiff simply t is
insurmountable. This rule must be strictly forced, if not the court will again be faced
with yet another frivolous desperate motion.

Plaintiff did not serve Velocity with a copy of the Complaint or Summons as
The defendants motion states

And there is nothing in the affidavit of service, entitled to a presumption of correctness,
to indicate that Plaintiff served Velocity with the Complaint and Summons as required
by FRCP 4. Accordingly, because

The plaintiff can present to the court three attempts
The defendants motion states

Plaintiff did not effect service on Velocity, this Court cannot exercise jurisdiction over
Velocity and must dismiss the Complaint.

C. The Court Should Dismiss Plaintiff’s Complaint Pursuant to Federal Rule of
Civil Procedure 12(b) (5) because Plaintiff Did Not Affect Valid Service of Process
Since Plaintiff Did Not Serve Specially Appearing Defendant Velocity with the
Complaint and Summons.

FRCP 12(b) (5) provides the method for challenging any departure from the proper
procedure for serving the summons and complaint as “insufficient service of process.”
Hernandez v. Senegor, 2013 WL 1966122, at *2 (E.D. Cal. May 10, 2013). “Once a
defendant challenges service of process, the plaintiff has the burden of establishing the
validity of service of process under Rule 4.” /d. (citing

The defendant as the court can see is not challenging the failure to return the waiver
and as the rule states, filing of the waiver is as if the complaint and summons has been
filed at the time of filing.

The defendants motion states
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Here, Plaintiff did not serve a copy of the Complaint or Summons on Velocity.
Plaintiff's attempted service of the purported amended complaint is not sufficient.
Therefore, the Complaint should be dismissed.

This is a repeated moot statement by defendant and should be dismissed as moot

This response as contained in the motion by defendant counsel confirms that even prior
to the registered agent being served; Velocity had prior knowledge that the complaint
had been filed. Counsel states, “Because service of process has not been properly
effected, Velocity is not required to respond to the Complaint.”

In addition, it is unjust to basically keep the plaintiff “frozen” and to refuse and delay
his progress in this case when events that should have no relevant reason are put in his
path and at the same time allow defendants who have been properly served pursuant to
Rule 4, where on three occasions, they had the opportunity to plead and respond to the
complaint and failed to do so. The restrictions put upon the plaintiff coupled with the
non-cooperative, non-compliant defendants allowed them to put yet another barrier in
front of the plaintiff where after over

Complaint filed November 25, 2019 161 days -
Complaint and Notice of Lawsuit
First Request for Waiver of summons filed November 27, 2019 159 days —

No Response
(Sent by USPS Certified Priority Mail)

Second Request for Waiver of Summons filed December 5, 2019 152 days -
No Response

Third, Request for Waiver of Summons December 11, 2019 146 days- No
Response

(Filed with Clerk December 11, 2019)
It seems highly ‘hypercritical | that the defendants are accusing | fhe plaintiff of failing to
follow the procedures of-Rule 4 when at the same time, they themselves are
intentionally failing to comply with the same rule with documented proof that they
have not.

Service of Summons

In the case in Northern Illinois District Court Case 1:18-cv-02388 there is not record of
the defendant challenging service or summons

Insufficient process of service
In the case in Northern Illinois District Court Case 1:18-cv-02388 there is not record of
the defendant challenging or filing a motion claiming insufficient process of service.

Jurisdiction

The Seventh Circuit’s decision in German American Financial Advisors &

Trust Co. v. Rigsby, No. 15-1612, 2015 WL 5579751 (7th Cir. Sept. 23,
2015), highlights the preservation of the right to claims of jurisdiction.

In affirming the conclusion that these defendants waived personal-
jurisdiction defense, the Seventh Circuit relied on the rule that “a defendant
will waive objection to the absence of personal jurisdiction by giving the
plaintiff a ‘reasonable expectation’ that they ‘will defend the suit on the
merits.’” They simply went silent and ignored the complaint but yet
continued to monitor the complaint and were actively being billed by their
attorneys specifically referencing this case in their invoices.

The defendants did not give the plaintiff or the court any indication or .
expectation that they were going to respond to the complaint or that they was
going to defend themselves in the complaint before the court for over 161
days. Even at them filing of the motion, it was not timely.

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By their own accord for failure to respond to the Notice of Lawsuit and

Request Waiver of summons for over
Preservation Issues:

A personal-jurisdiction defense is generally presented and preserved through
one of two mechanisms: (1) a 12(b) (2) motion to dismiss; or (2) the
defendant’s answer as one of the pled defenses (for later presentation through
a motion).

However, even when presented in one of these ways, the defendant may
waive or forfeit a personal-jurisdiction defense through litigation on the
merits in situations in which it is not clear that the defendant maintains its
personal-jurisdiction defense. See, e.g., Blockowicz v. Williams, 630 F.3d
563, 566 (7th Cir. 2010) (where defendant responded to plaintiff's injunction
motion and included statement that the district court lacked personal
jurisdiction over it and further stated that it did “not waive any arguments it
has pursuant to Fed. R. Civ. P. 12(b)(2),” defendant nevertheless waived its
personal-jurisdiction defense by failing to press it and, instead, substantially
litigating on the merits); Gerber v. Riordan, 649 F.3d 514, 518 (6th Cir.
2011) (where defendants filed an initial motion to dismiss for lack of
personal jurisdiction — which was rejected for reasons other than the merits —
_ and then participated in litigating on the merits before renewing their motion,
which included their counsel making a general appearance, the defendants
waived their personal-jurisdiction defense).
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The following general rule is central in this context: A “delay in challenging

personal jurisdiction by motion to dismiss may result in waiver, even where
... the defense was asserted in a timely answer.” Hamilton v. Atlas Turner,
Inc., 197 F.3d 58, 60 (2d Cir. 1999) It is clear that the defendants motion was
not timely and was not done out of an abundance of caution as they claimed
but, was done knowing full well they were in default and had to do something
to once again submit false allegations and this time a completely false
document to the court with all false claims, a practice they have done for
more than 3 years.

To retain the potential for proper preservation of a personal-jurisdiction
defense, they should have presented as early as possible in the action. They
did not, forcing the defendant to “serve” them when he did not have to, only
to now bring a false, lie based motion, with no proven facts submitted from
pure improper means.

The motion should be denied and counsel should also be subjected to major
sanctions for submitting known false motions in their attempt to mislead the
court in rendering an unjust ruling.

Counsel knows that the defendants are in the position that they cannot defend
_ or counter any of the claims by the plaintiff, as they know in the past that he
has multiple supporting documents and exhibits to present to the court to
show the defendants guilt.

Personal or Subject Matter jurisdiction

. Plaintiff does hereby submit the Notice of Lawsuit and waiver of Summons filed
with the court on December 11, 2019, USPS Certified Mail receipt and USPS Tracking
and Delivery confirmation as documented written material of service and the fact that
none of these documents that were sent to defendants on November, 27, 2019,
December 5, 2019 or December 11, 2019 were returned by USPS as undeliverable to

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the plaintiff. As suc ey cannot claim non-receipt and the rules of service have been

satisfied.

The plaintiff need only make a prima facie showing of personal jurisdiction to defeat a
rule 12 (b) (2) motion to dismiss OMI Holdings. Inc. v Royal Ins. Co of Can 149 F.3d
2086 1090 (10 Cir. 1998) A plaintiff may make this prima facie showing by
demonstrating by affidavit or other written materials, facts, that if true would support
the exercise of personal jurisdiction over the defendant Rainy Day Books Inc. v Rain
Day Books & Café, LLC 186 F.Supp 2d 1158, 1160 (D. Kan. 2002) In considering
whether plaintiff has made a prima facie showing of personal jurisdiction over the
defendant, the court must take the complaint’s allegations as true to the extent that the
defendant affidavits, pleadings and or pleadings do not controvert them. The defendant
have made no such filing or counter claim against any allegation or claim to the court.
Tompkins v Executive Comm. Of S. Baptist Convention No CIV *3-0840 JB/CG 2015
(doc. 31 Press Release, (iv) When conflicting affidavits are presented factual disputes
are resolved in the plaintiff's favor Behagen v Amateur Basketball Ass’n of USA 744
2d 731,733 (10" cir 1984)

In this case, if the defendants wish to make any such challenge, their claim cannot be of
insufficient process of service as they have attacked the service on the registered agent
and not the service per Rule 4 that resulted from their failure to return or respond to the
waiver. Again, Rule 4 (4) clearly states

Rule 4 Summons (4) Results of Filing a Waiver. When the plaintiff files a waiver,
proof of service is not required and these rules apply as if a summons and
complaint had been served at the time of filing the waiver.

Defendants have been served officially as of December 11, 2019 and as such, any
claim of not being served is irrelevant and immaterial. There is no other way other
than the multiple waivers sent to the defendants and copies of the complaint would
they have known that there was a lawsuit filed against them. As such, then did they
have the information case number etc., that would allow them to look specifically at
the case filed in the Eastern District of California and to periodically check on any
filings, and or download and documents. Then intentionally not filing an appearance
as they did in the case in the Northern District of Illinois. By doing so they “appear to
not have knowledge of the case as no official connection to them are made and or
documented” However, Pacer keeps extensive records as to the user name, searches,
case numbers and documents downloaded and it is clear that defendants had

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knowledge and downloa oat éd documents on severa occasions, prior {0 the first

notification being sent on May 4, 2020. Their claim of no jurisdiction is unfounded
based on these facts.

In the case in Northern Illinois District Court Case 1:18-cv-02388 there is not record
of the defendant challenging the courts or filing a motion to claim the court did not
have jurisdiction for either personal or subject matter

Yet in the cases before the court, they filed a motion making claims of all three.

Registered Agent

Defendant is adamant that the serving of the registered agent was not properly done;
however, the registered agent is Corporation Service Company (CSC) is the paid
registered agent that can receive service of process. On April 13, 2020, if they were
not the registered agent for Velocity, they could have refused service, they did not.
The affidavit of service reflects that Collen Walsh a representative of Corporate
Service Company accepted service on behalf of Velocity during normal business hours
@10.46 am. Again, this was and is valid service as for over 5 % moths Velocity
avoided responding to the complaint and a as such service is valid and legal.

 

. Erin De La Cruz. do hereby certify that | have served a true and exact copy of the Filed
d Complaint on the defendant. Velocity Technology Solutions. lnc. co Registered Agent.
le Service Company at 2626 Cilenwood Ave.. Suite $50. Raleigh. NC 27608. | personally
d said documents to Colleen Walsh. Representative for Corporate Service Company on
"AN at PO4GAM,.

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The defendants are allegedly a multi-million dollar organization and has no good
cause other than arrogance and their normal position that blacks and the plaintiff are
inferior and that they will not “bow down to him or any other black by responding to
and or admitting to anything they are obligated to do by law, and have spent hundreds
of thousands of dollars in covering up their racist acts committed against the plaintiff
where he has openly stood his ground and defended himself against multiple false
statement, forged documents and false allegation by the defendants.

The “service” that the defendants are claiming that was insufficient is a irrelevant issue
and was a method that the plaintiff used to “draw/flush” out a non-compliant, un-
cooperative and hostile defendant, who has for over 3 years hidden_in the bushes
after they have committed multiple violations of the law. The plaintiff had no intent of
filing an amended complaint with the court, his intention again was to get the
defendants before the court a place they did not to go and have from the beginning,
avoiding .

They make multiple statements that display arrogance and their intent no to comply
with the law. They claim they are not required to do anything, yet their performance in

representing their client mirrors the arrogance of non-compliance with the rules of the
court and judicial system.

FOOT NOTE AT BOTTON OF WAIVER FROM A0399

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Rute 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of scrving 8 summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located m
the United States will be required to pay the expenses of service, unless the defendant shows good causc for the failure.

“Good cause” does not include a belief that the lawsuit ig proundicss, or thal. it has been brought in an improper venue, or that the court has
no jurasdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absonce of
a summons or of service.

Ifyou waive service, then you musi, within the time specified on the waiver foo, scrvc an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served,

Form A0399 WAIVER OF SUMMONS sent to defendants clearly states that if the
waiver is returned that the failure to waive service a party that believes the complaint is
unfounded, that action has been brought in an improper venue/place, or in a court, that
lacks jurisdiction over the subject matter or over the defendant. A party who waives
service of the summons retains all defenses and objections

(EXCEPT ANY RELATED TO SUMMONS OR THE SERVICE OF THE
SUMMONS) and may later object to jurisdiction of the court or to the place where
action has been brought. The defendant forfeit those rights and have no legal right to
claim them, ast hey did not return the waiver so they is thus barred from both
claiming insufficient service of the summons and from challenging jurisdiction as
they were not retained by their own actions and non-compliance. Ion related to the
summons or the service of the summons in a clear illustration of their disrespect and
disobedience of the law. The rule says “certain “Defendants, however, it is clear
defendants do not qualify for an exemption for not complying with or that they are not
covered by the Rule 4

Nevertheless, they did it anyway and filed a motion before the court falsely claiming
the service of summons and the process of the service is insufficient, however in the
same breath, claiming the plaintiff did not comply with Rule 4 and it is they who did
not comply with any of the provisions of Rule 4.

. Why did they do this? Because they simply do not care or respect the law. They will

break it; go against this repeatedly, until they are stopped. The Arizona Court of
Appeals put a stop to their reign. After over a year and a half they had had enough of

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the false pleading, false documents, and false misleading statements and tired of them

using the resources of the people of the state of Arizona to carry out their vendetta.

They denied the motion, however just like the plaintiff they again, went behind the
back of the state of Arizona and put in the agreement that the laws of the agreement
were governed by the laws of Arizona. After they have for months rained hell over the
state of Arizona, now they want them to enforce an illegal agreement. Totally
disrespect for the law.

This in indicative of a situation they created with AZDES Ad the Arizona Court of
Appeals, where after they have lied to AZDES, forced the plaintiff to appeal a
completely wrong determination they made based on forged documents sent by the
defendants, they first after they were to be a witness at the appeal hearing, knew of the
date/time and then failed to appear at the hearing. After the judge sent them, its ruling
that specifically said the deadline to appeal this decision was July 23, 2018. They did
not file an appeal by July 23, 2018. They waited until the induced the plaintiff into an
unconsciable and illegal agreement on August 17, 2018, then behind his back three
days later the filed an appeal with the Arizona Court of Appeals, that was immediately
denied, EXHIBIT 15 _ by the judge, as they did not have good cause not to attend the
hearing.

Defendants now opposition despite the fact that Rule 4 clearly states that you cannot
make any object.

Defendant intentionally failed to return waiver despite given three (3) opportunities to
do so

and or respond or answer the complaint in the allotted time. If the defendant had
returned the waiver, they would have had 60 days from the designated date on which
notice was sent.
The first Notice of Lawsuit and Request of Waiver of Summons was sent on November
27, 2019, the second was sent on December 5, and the third was sent on December 11,
2019 at that time the plaintiff also filed the waiver with the court. Still after all these
attempts to comply with Rule 4, the defendants still intentionally failed to respond to
the wavier nor did they respond and or file an answer to the complaint. Now per the
language on the waiver that the defendants and their counsel are familiar clearly states.

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However, his comment is far from the truth. The defen ants did have an obligation to

respond and ignored their responsibility to do so. This has been a tactic for some time.
It is by virtue of that arrogance that the issue is before the court where their legal
obligation has a documented and calculated history of avoidance to face the facts and
violations of the law committed not only by the defendants but by their attorneys as
well.

The plaintiff in need of direction after he had sent three (3) separate Notice of Lawsuit
and Request for Waiver of Summons to the defendants attended the Pro Se clinic at the
District Court house.

Thu 3/5/2020 11:19 4M

CAEDdb ProSeAppointment <proseappointment@caed uscourts.gov>
RE: Appt request

‘@ Garrison Jones

 

Great, thank you. Your appointment time is indicated below:

{2:30-1:00 p.m.- Friday, March 6th
United States District Court
First Floor Attomey Lounge, 501 | Street, Sacramento

Please bring any case information and documents that may be helpful to the pro bono attomey providing assistance. Thank you and we look forward to seeing
you at the event.

They explained this issue and he was given tactical direction to make progress in this
case and force the defendants to answer. They specifically mentioned that if the
plaintiff, who had no funds to do so, served the registered agent as the defendants were
avoiding and would not acknowledge service or it appears they would never return the
waiver, that if the registered agent was served, no attorney would risk not responding
to the complaint for it would be misconduct. In addition well they mentioned that
since you had already filed the waiver with the court and sent the defendants a copy of
the Notice of Lawsuit and Request Waiver of Summons, coupled with the fact that you
have receipts and confirmation of delivery that, this was proof that they in fact received
this material, just in case they again claim they did not.

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Therefore, the attack by defendants on the service on the registered agent is baseless

and without merit and said motion to dismiss should be denied as; they also knew that
by virtue of their failure to respond to the original complaint in a timely manner, they
were already in default as of January 2020. Upon receiving the waiver and the
complaint the defendants failed to respond to the complaint and the Motion to Dismiss
is not and cannot be categorized as a response, with that said, it is was filed 154 days
after they received the complaint and is more than 124 days after the allotted time they
had to respond.

In addition to those facts. The plaintiff after more than 45 days since the time for
defendants to respond had elapsed, went to the clerks office to file a default against the
defendants, he handed the motion / request to a Black woman with a Jamaican accent,
she reviewed the first page of the motion, looked the case on the system and refused to
accept the motion. She said that he could not submit the motion because there was
an application for IFP still pending and that if he submitted the motion and
request that it would be denied. She further added

“Nothing can happen in your case until the application for IFP is approved”

Later when this was explained to the Pro Se clinic, they told me that I had the right to
file the default and it had nothing to do with my IFP application. As well, I should
report this to her manager and file a complaint, as no clerk of court can provide anyone
with “legal advice” and this was definitely considered “unauthorized legal advice”.
So to further complicate matters. The plaintiff who had a right to was talked out of the
default process and over 3 months went by and by then the defendants filed their
motion for dismissal on May 4, 2020 at the last minute. Because on May 5, the
plaintiff planned to file default again.

He filed a request to default with the clerk and it was denied, this time they claim the
denial was because of the pending IFP and the motion to dismiss have not been ruled
on. However, when the none of this was relevant and the motion for dismissal was
seven filed, he had a right to file a default judgment and it was incorrectly and refused
to be filed by this clerk, damaging his case irreparably as now there are multiple
obstacles that he again must hurdle as he knew back in January that the defendants
were never going to file a response to the complaint.

To go further the plaintiff even before his appointment with the Pro Se Clinic.
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The plaintiff will not only show that the defendants knew and received a copy of the
complaint and Notice of Lawsuit and Request to Waive Summons but he will also
prove they received these documents in addition to the fact that a third party can also
validate that as far back as December 2019, they were actively accessing court
records for case number 2:19-cv-02374 but also were downloading documents
from that case as well.

This further implicates the defendants and their attorneys, if they are making yet
another false claim that they had no knowledge of the complaint until the registered
agent was served. If they had no knowledge, then who was accessing and

downloading documents in this case?

Pacer records show that the first notification for the current defendant attorneys
who received any notification was on May 4, 2020.

Key here is current but as mentioned above, documents have been viewed and
downloaded by multiple individuals beginning in December 2019. This shows that the
defendants’ and their lawyers are playing the same old game of “I did not know”. If
you did not know, then who has a vetted interest in this case other than the defendants
to download these documents? Nevertheless, Pacer has extensive records that can do a
reverse query as to what user name, date/time and what records were accessed and or
downloaded, if the defendants want to continue to lie claiming no knowledge and they
were not required to respond. The first notification was no the first time, they had
knowledge or accessed the documents of this case.

>

Sent: Thursday, May 21, 2020 10:24 AM

To: Garrison Jones <garrison.jones@outlook.com>
Subject: RE: not receiving notifications

 

It appears the first electronic notice counsel for Velocity Technology Solutions
received in this case is 05/04/20; their first appearance in the case when they filed their
Motion to Dismiss, #5.

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e 2:19-cy-02374-KJM-EFB. Document 13. Eiled 05/26/20 Page 18 of 7
CM/ECF HELPDESK for the United States District Court Eastern District o

California

Phone Numbers: current phone hours:
In Sacramento: 866-884-5525 9:00 a.m.-- 1:00 p.m.
In Fresno: 866-884-5444 9:00 a.m.— 12:00 p.m

However, records also show that they were aware of the case.

Their intent is to steer the court into only looking at the service made upon the
registered agent of Velocity and not to look at the fact that service has already been
rendered upon the defendants and the fact that on three (3) separate occasions that the
waiver was Sent to the defendants and on three (3) separate occasions, they
intentionally failed to return the waiver that clearly explained that

With that said, we need to direct the court to

Rule 4 Summons (4) Results of Filing a Waiver. When the plaintiff files a waiver,
proof of service is not required and these rules apply as if a summons and
complaint had been served at the time of filing the waiver.

“Because service of process has not been properly effected, Velocity is not required
to respond to the Complaint.”

This motion is in response to defendants’ motion to dismiss due to what they claim was
insufficient service of May 4, 2020. Let us first entertain the fact that the entire
motion, submitted is full of false statements, half-truths and in some cases outright lies
by the defendants and their attorneys. The only way to combat or counter these false
allegations is with the truth, something the plaintiff has done in the previous eight (8)
encounters where he has been faced with false allegations, forged documents and
fraudulent acts committed by the defendants and their counsel. The best way to
approach this for the court is by taking the false statement allegation and or statement
in the defendants’ motion and show, present and illustrate to the court the lies, false
statements, versus the factual truth.

At the root of their motion is a tale of two cases. The defendants are speaking in half-
truths are yelling fire and it is them who set the fire. This is what I think “precedent” is
relevant. If the same procedure is followed each and every time, the same result is

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. Case 2:19-cv-02374-KJM-EFB Document 13, Filed ane Ry 190f73_..,,
achieved. However, they made no motion to dismiss in the case in Northern Illinois,

nor did they file any motions claiming they were they had not been properly served, yet
in the case before the court when the exact same process was done, they are making
that false claims before the court and at the same time, intentionally not mentioning the
fact that they were sent the exact same document in this case. In addition to

They are making a false claim that the plaintiff has failed to properly serve the
defendants, however in the tale of the two cases begins right there. As the defendants
are touting, there was a previous case In the District Court of Northern Illinois, case
number 1:18: cv-03288 Jones V Velocity Technology. Next, they are attempting to
sway the court into thinking; this case is virtually identical to the case before the court.
This is a complete lie. The court on its own has the ability to look at the two cases and
see that they cases are not “virtually identical” as they falsely claim. In the case in
Northern Illinois, the phrase or word “FMLA” does not even exist in the complaint,
however in the case filed in the Eastern district of California FMLA is mentioned a
mere total of 58 times. This case is about the multiple violations and confidentiality of
the rights of the plaintiff uncovered after he attempted to walk away from the worst
employment experience of his life, that all were committed willfully and with vicious
intent by the defendants, who left a documented trail of fraud, misrepresentation and
even an act where they literally impersonated the plaintiff in having a conversation
with a state agency to further impact the fraud they were already committing.

Next, they are claiming that they were not properly “served” when the plaintiff sent
them in each case a Notice of Lawsuit and Request of Waiver of Summons. In the case
in Northern Illinois, and by illustration of the Docket history the court will see that the
plaintiff filed no affidavit of service. You will also see that the defendants never
responded or filed any such motion for dismissal making a claim that they were never
served with a summons and or complaint.

Exhibit 1. History of documents of case 1:18-v-02388 Northern District of Illinois

18
Home

Case 2:19-cv-02374- WM: EFB Document 13 Filed 05/2 6/20
LTE 11:49 AM @

406% ae. 20 of 73

a ecf.ilnd.uscourts.gov

History

 

Doc.

Dates

Description

 

Filed & Entered:

05/08/2018

@ received complaint

 

Filed & Entered:

05/08/2018

W civil cover sheet

 

Filed & Entered:

05/08/2018

wD pro se appearance

 

JB pe Pin pb

Filed & Entered:

Terminated:

05/08/2018
08/20/2018

@ application for leave to proceed in forma pauperis

 

Ia

Filed & Entered:

Terminated:

05/08/2018
08/20/2018

<@ motion for attorney representation

 

Filed & Entered:

05/08/2018

J Notice re Mandatory Initial Discovery Pilot(MIDP)

 

“iled & Entered:

08/16/2018

WD attorney appearance

 

[5 | No | 0

Filed & Entered:

08/16/2018

 

WP stipulation of dismissal

 

Filed & Entered:

08/20/2018

wW terminated case

 

F

‘led & Entered:

08/20/2018

<3 order on motion for Jeave to proceed in forma pauperi

 

I]

Filed & Entered:

12/13/2019

W assigning/reassigning Case

 

had

Filed:
Entered:
Terminated:

12/13/2019
12/16/2019
12/18/2019

.# motion to vacate

 

iz

Filed:
Entered:

12/13/2019
12/16/2019

oJ letter

 

pee
07)

Filed & Entered:

12/18/2019

w order on motion to vacate

 

& Ih

Filed:
Entered:

12/31/2019
01/03/2020

\# notice of appeal

 

G

Filed:
Entered:
Terminated:

12/31/2019
01/03/2020
01/21/2020

motion for leave to appeal in forma pauperis

 

be

Filed & Entered:

01/03/2020

notice of appeal due letter

 

em
No

Filed & Entered:

01/03/2020

WB transmitted short record to USCA

 

||

‘iled & Entered:

01/03/2020

.@ USCA acknowledgment of short record

 

Filed & Entered:

01/08/2020

9 USCA order

 

Filed & Entered:

01/21/2020

order on motion for leave to appeal in forma pauperis

 

ESE

Filed & Entered:

01/21/2020

WB circuit rule 3(b) fee notice

 

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p

Filed & Entered:

02/04/2020

@ USCA acknowledgment of short record

 

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Filed & Entered:

02/05/2020

SP USCA order

 

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Filed & Entered:

02/05/2020

 

 

@ motion for leave to appeal in forma pauperis

 

PACER Service Center

 

 

Trancactian Reraint

The only filing by the defendants was on August 16, 2018 after they had hatched a plan
to “settle” the case out of court with the intent to induce the plaintiff to enter into an

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Case 2:19-cv-02374-KJM-EFB, Dgcument Filed 05/26/20 Page 21 of 73
; agreement by fraud and misrepresentation. A Theme and practice they have done

- time and time again.

erty of an organization, that has fueled his career over 27 years, put a roof over the his
head and his family, put his children thru school and college, now only to see former
employees of that same firm, Lawson/Infor being targeted where a using their
knowledge of how the inner workings of that organization, they conspired to steal
intellectual property from them for the purpose of American Greed. They also
targeted the plaintiff to unknowingly make him a participant in their illegal criminal
activity. When the plaintiff found out what they were doing, he simple exercised his
protected right and refused to participate in their illegal activity. For this and over
the past 3 2 years they have retaliated against him and his family, black listed him and
prevented him from being able to gain honest lawful employment on top of all this
after he was trying to walk away, he discovered that they had without his knowledge,
committed several civil and criminal acts against the plaintiff “behind his back”
including made a false allegation of fraud where they attempted to charge the plaintiff
with a felony and get him wrongfully convicted of fraud by falsely claiming that he
was committing unemployment fraud where he was working and collecting
unemployment at the same time. Fact along with 5 other false allegations they made
to the Arizona Department of Economic Security (AZDES) to prevent the plaintiff in
collecting unemployment after they terminated him while on FMLA without his
knowledge for no reason of misconduct and then after they were caught lying, both the
HR Director and Legal Counsel openly lied to him in their effort to begin a cover-up
that exist today and as a result lead to 5 cases of appeal with the Arizona Court of
appeals, all regarding false allegations made by the defendants where the plaintiff was
forced to file appeals to prove that all (5) allegations were not true.

Now in the case before the court, they are claiming that they were not properly served,
when the plaintiff followed and executed the exact same procedure and on (3) separate
occasions forwarded Notice of Lawsuit and Request Waiver of Summons to the
defendants that they following their previous habit of not responding

Thee attorneys are not being ethical, what they are doing is obvious, the same as if a
person brings his car to a mechanic for a flat tire and the mechanic pads the bill with
other un-needed repairs and estimates, then after those repairs are done, he does a half
assed job to get the car back in his shop to fix more things. This is exactly what
Ogltree is doing; they are intentionally stringing Velocity along for the sake of revenue

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and billable hours. They do a half ‘ass job, leaving the win ow open for the event that
it will result into more revenue and billable hours. they are simply prolonging this case
for the sake of profit, revenue, and billable hours. They are no better than the client
they represent. Two snakes eating the others tail.

They have suffered eight consecutive lost cases because all they have done is presented
lies. Now there are (2) attorneys assigned (double the pleasure) one billable attorney
was not enough.

To then address all of the FRCP Rules that have been quoted and intentionally
misrepresented in the motion. For the record, there was not a single rule nor a single
case quoted by the defense counsel that remotely made any such recommendation that
the appropriate resolution and or ruling is to dismiss any case with prejudice.

Rules 12(b) (5), FRCP 4, FRCP 12(b) (2), and FRCP 12(b) (5). None of which has any
of the language that is being quoted by counsel.

Nor does any of the legal cases quoted remotely recommend the same appropriate
resolution. Lemoge v. United States, 587 F.3d 1188, 1198 (2009). re Sheehan, 253
F.3d 507, 512 (9th Cir. 2001 nor does Mateo v. M/S KISO, 805 F.Supp. 792, 795 (N.D.
Cal. 1992) and or (abrogated on other grounds by Brockmeyer v. May, 383 F.3d 798
(9th Cir. 2004 Il

No case specifically makes any such assumptions. Yet one of them clearly
recommended “ without prejudice, but as illustrated counsel is so eager to end this case
that he I one breath claim that the proper resolution is “notice to the plaintiff —must
dismiss the action without prejudice, then contradicts himself and (6) additional times
in the motion he claims with prejudice.

He is asking the court to close its eyes to precedent, break the law, and do his will.
This motion is a clear act of desperation and fraud. On one hand they attack “service
as insufficient but under the same circumstances, same parties different claims, they
claim another process is appropriate, knowing it is a lost cause as they know the effects
of not to have returned the waiver. They are intentionally making mistakes milking
their client. Even billing them for just logging into Pacer to see if any of the cases have -
made and progress. They may not since the pandemic have many clients that are
billable and they are milking the source of income every day for revenue. There is no

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way I would stay with any attorney no matter how “prestigious the

eight loses, I would run to another firm.

The issue is, they are being forced to stay with this firm by “a higher power” investors
or business partners, who knows and who cares. There is no attorney on this planet
that get them off the hook for what they have done. It has already been proven that no
matter how low and the dirty tricks they try, the truth will prevail.

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y Claim to be, after

I have lived by a very basic creed. I do not lie cheat and or steal and I do not tolerate
anyone who does” Velocity is on track for becoming the first “technology firm to be
indicted under the RICO Statue.

Of all the technology firms who do things every day to advance society, there are those
who would rather “steal” others success as their own for profit without doing the work
but want the credit. Then when they are caught, they just as Velocity revert to fraud to
hide their crimes.

When I tried to walk away, they still came after my family and me again, why? for
exercising my protected right and not be involved in a conspiracy to steal from a firm
who over 27 years helped me in a career to put a roof over my head and family and
send my kids to college and now they want me to drop that history and participate in
illegal activity, please.

The court should know I have not backed down. I may have lost almost everything I
have but I am not wrong for standing up for my rights for I have done absolutely
nothing. What they are doing is pure racism nothing else. They have done everything
they can and spent millions of dollars hiding the truth. Racial injustice is the black
mans burden and the white man shame. No matter how we gain by technological
genius, if we cannot live together or we will perish together as fools. The disease of
racism drips from the pens who drafted the defendants’ motion. It is saying who he to
challenge us/me is.

Man must put an end to racism for if we do not. Racism will put an end to mankind.

The court needs to be aware and force the rules as defined in

Rule four Notice of Lawsuit and Waiver of Summons. As of December 11, 2019 and
pursuant to Rule 4 (4) Results of Filing a Waiver. When the plaintiff files a waiver,
proof of service is not required and these rules apply as if a summons and

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complaint had been served at the time of filing the waiver. The defendants have

already been served. The attack on the affidavit and summons as insufficient is moot
and irrelevant

It is a proven fact that the defendants knew of the filing of the lawsuit and received the
Notice of Lawsuit and Request Waiver of summons on (3) separate occasions and that
they have been monitoring the case since it was lied on November 25, 2019. Itisa
proven fact that they have monitored the case on a regular basis.

As in the past, they have ignored all communications and as such, the claims of no
being properly served are hereby moot. :

The documents sent to the defendants are not “another attempt to serve them” with an
amended complaint what soever. It was done because history dictated that if the
plaintiff did not do anything, they would have continued to ignore the complaint as
they have done before, however in the case before the court and the case in the
northern district of Illinois, by their intentional failure, they put themselves in default.
The hearing by the court is completely unnecessary and a waste of judicial resources as
the defendants’ are only doing this for interference and fraud purposes to persuade the
court to look the other way and allow them to escape the default position they are in.
They forced the plaintiff to incur unnecessary expense and then attempting to ignore
the (3) sets of documents sent to them that could have put them in a better position to
defend, yet they chose not to respond and as such now they realize they have to do
something. They did not act as an overabundance of caution; it was a sheer act of
desperation at the last minute.

Rule 4 of the Federal Rules of Civil Procedure specifically requires certain defendants
to cooperate in saving unnecessary expenses of serving a summons. It is clear that the
defendants intentionally did not comply with this rule. It is not the fault of the plaintiff
that they did not comply it was their chose to ignore. As in all litigation, the
defendants feel none of the laws of this country apply to them.

The defendants were sent on (3) separate occasion the Notice of Lawsuit and Waiver of
Summons. The defendants are located in the United States and who failed to return a
signed waiver of service requested by a plaintiff located in the United States will be
required to pay the expenses of service. Plaintiff on May 13, 2020, filed a motion for

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recover cost/expense of service with the court. The defendants have shown arrogance
and not show good cause for their failure to return any of the waivers sent to them
They instead have went “ silent” and ignored their obligations to the court.

They have basically failed to comply with Rule 4 in its entirety as their arrogant
statements and belief that the lawsuit is groundless, t it was brought in an improper
venue, or that the court has no jurisdiction over this matter or over the defendant as
they have clearly outlined in its motion of May 4, 2020. None of them are relevant to
the fact that they failed to sign and return the waiver. They as by law can still make
these and all other defenses and objections, but cannot object to the absence of
a summons or of service. In addition, they failed to waive, as well failed to file a
respond to the complaint by February 9, 2020 more than 60 days after the original
waiver was sent. The result of their failure or failure of strategy that they alone must
take the blame where they did not respond, within the time specified on the waiver
form.

As such the motion before the court is moot and without basis, however as in this
motion to deny the defendants motion, the court must retain the fact that the intent of
their motion was as it has been in the past, intent to commit fraud on the court. A
motion for Sanctions will be filed under a separate motion.

The plaintiff respectfully submits in support of this denial as well as documents that
show a consistent pattern of false statements, half-truths, and lies that can assist the
court in coming to its conclusions.

False statement one

First beginning with the statement where defendants claim that this case before the
court is a duplicate case. I do hereby challenge the defendants and counsel to visually
prove that the case before the court is a duplicate of the case in the northern District of
Illinois. It is a complete lie.

Just as they think, the plaintiff was stupid enough to apply for unemployment
benefits, while he was still employed, when he had documents /email from tom the
defenants stating that he had been terminated._I challenge the defendants or counsel
to prove this false allegation. (Knowing now, they will not)

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The same thing here in this false allegation, that he was also so stupid to file the same
identical case with the same claims in a different district.

They are attempting to make the court believe that the plaintiff is so stupid to file the
same case twice, just in a differed jurisdiction. This is deception and fraud, a familiar
tactic. Not only are the cases very different, the complaint in the Northern District of
Illinois the word/phrase FMLA cannot be found anywhere in the complaint. In
addition, the plaintiff at the scheduled hearing will demonstrate to the court by using a
file comparison tool/technology that will compare the actual files against each other
where it will highlight the obvious difference graphically to show that this is simply
just another lie and false allegations.

The only thing that is duplicated in these two cases is the acts committed by the
defendants in attempting to ignore and cover up their illegal acts.

The settlement reference by the defendants was induced by fraud, is, and was void at
the moment after it was signed. The defendants were forced to make some form of
agreement so that they could conceal multiple state and federal offenses with the major
one being the theft of intellectual property of their biggest revenue contributor, Infor,
and to do is before it is discovered the involvement and direct or indirect participation
of several multi-billion dollar organizations, who had invested millions of dollars in
Velocity.

Not even (3) three days after the signing of this so-called agreement Velocity filed an
appeal with AZDES that was denied Velocity further voided the agreement showing
the vindictive nature that resulted in multiple federal complaints. The plaintiff was out
of the country addressing issues surrounding the death of his ex-mother-in-law. He
was simply walking away from the worst employment experience of his entire life.
Upon his return to the states in August 2019, he re-contacted (AZDES) in regards to
the monies, he did not receive from the appeal hearing that he had won in June 2018.
He was Unknown to him the monies he was expecting had not been paid or released
because the defendants in a span of less than 90 days had contacted AZDES on (3)
three other occasions and made three more false claims:

On April 24, 2018 they contacted AZDES and sent unsolicited /proactively a forged
FMLA form claiming that the plaintiff was unable to work due to his stroke and that he
was on FMLA until May 15, 2018

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(Which was a lie) AZDES even had documentation that claimed that the plaintiff

called to confirm this, which was another lie. Someone from Velocity contacted
AZDES and impersonated the plaintiff and made these false claims.

In addition to this event the plaintiff who had returned to work right before the hearing
in June 2018, Velocity who was steaming from their appeal lost in June 2018 found out
that the plaintiff had returned to work and contacted AZDES yet again, falsely claiming
that he was committing unemployment fraud ( A Felony in Arizona) to get him
wrongfully convicted of a felony and sent to prison.

The plaintiff also found out that Velocity also on August 20, 2018 filed an appeal to the
hearing June 2018 over 40 days after the court deadline, that had expired, that was
immediately dismissed for “no Cause.

All the above documented false and fraudulent acts are hereby submitted with this
motion to show the court the pattern of hate, vindictiveness, and false allegations that
the plaintiff has endured at the hands of the defendants and their attorneys that are
relevant to the motion before the court because it too is full of complete false
statements.

Submitted with this motion are the following

Arizona Appeal U-1595392-001 (Another lie) terminated and not for reasons of
misconduct- Employer protest logged by Velocity

Falsely claiming plaintiff still employed after they terminated him in March 2018.
When the hearing date arrived, they failed to appear but sent for the second time the
same forged document to Court of Appeals

Arizona Appeal U-1600605-001 (Another lie) Dismissal of Velocity appeal for no
cause for not being able to appear at hearing after knowing the exact date/time of
hearing the failed to appear, however on June 21, 2018 faxed over the same forgery
they sent in April 2018 that AZDES used to determine that he was not due any benefits
as he was still employed. They did this hoping that they forgery would be interpreted
anyway the court of appeals wanted as long as it was in their favor. It failed.

Arizona Appeal_U-1639659-001 ( Another lie) unable to work Defendants faxed
over plaintiffs’ personal medical records along with a forged FMLA document less

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than 2 weeks after they sent the forged document that c aimed he was stil employed,

this time falsely claiming not only was he still employed but unable to work

Arizona Appeal U—1642697-001 Velocity claimed after stalking the plaintiff and
when he returned to work contacted AZDES yet again claiming plaintiff committing
unemployment fraud. |

The court should be aware that for all of the false fraudulent claims and allegations
Velocity made to AZDES and with the knowledge of each appeal hearing, they failed
to show up four (4) consecutive times. They chose to hide behind under a rock and
see what happened after they lied to AZDES 5 times.

They are making false claims that the first notification of the lawsuit was when the
plaintiff filed affidavit of service on April 16. However, how would they know this
was filed if they have not been monitoring the case for over 4 % months.

Inquiries to prove that the first notification they received was on May4, 2020. The
notification does not mean that they have not logged into pacer and have kept track
with case events, the same manner that they did in the case in Northern Illinois. For
months, they failed to respond and or plead but had full knowledge of the events going
on with that case as well. To now claim they are only reacting in a d” overabundance
of caution “is yet another false statement, as they have known oi this case for months.
It is again another act of deception they are pushing on the court.

Exhibit 1 is the complete document history from Case number

1:18 cv-02388 from the Northern District of Illinois of the case mentioned by the
defendants that was filed titled Jones v Velocity Technology Solutions et al on May 8,
2018.

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It shows 26 documents filed. In that case, the plaintiff sent via regular USPS mail after
the complaint was filed, a copy of the complaint and Notice of Lawsuit and Request
to Waive Summons with return postage per FRCP Rule 4. In that case, the plaintiff
did not file the waiver with the court; however, the defendants knew that a complaint
had been filed.

They did not file a motion for dismissal claiming that Velocity had not been served. In
fact they filed no pleadings not did they resOond to the case.

They notified their attorney and the attorney updated the Pacer system to receive
updates on any filings in that case. In the case currently before the court, the
defendants in their motion claim.

Yet in the current case and the same identical conditions exist the claim

“Velocity is not required to respond to the complaint.”_Now in the case in Northern
Illinois where the court can visibly see that no affidavit of service was never filed, nor
was one ever filed with the court, yet the same law firm and attorneys chose to defend
and represent their client in a case where they had not been officially served,

Later they filed their appearance in a case on August 16, 2018 filed in a case they had
no legal obligation to respond they did respond and raise no objections to jurisdiction.

This after more than 96 days after it was filed. In that case, they did not file a single
motion or response. Yet after notification of the filing out the complaint, they updated
Pacer so that they would receive notifications on any filings.

Now under the same identical conditions, same parties and same circumstances the
plaintiff filed the complaint in the U.S. District Court of California Easter Division and
upon filing the case on November 27, 2019 sent the defendants a copy of the
Complaint, Notice of Lawsuit and Request Waiver of Summons just as he had done in
the previous case and per the procedure in FRCP Rule 4.. The plaintiff knowing from
his last experience time with the defendants, knew that they would again intentionally
fail not to return the waiver, however this time, he sent all documents vis=a USPS
Certified Mail to the attention of defendant Steve Kloeblen, CEO of Velocity
Technology Solutions with Tracking to assure that if they did the same thing, he would
have record of the delivery of these documents.

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USPS records Coin rin that the documents were deliverec én December x 3019. The
plaintiff contacted the defendants on December 5, 2019 and the defendants claimed
they did not receive the documents. The plaintiff knew they were lying as he received
confirmation that they had been delivered.

Exhibit 3
USPS certified mail Receipt dated November 27, 2019
Sent to defendant CEO Steve Klieblen

AS el ee ai eae
CERTIFIED MAILS RECEIPT

[eier one Rs Be

 

 

 

 

 

Exhibit 4
USPS Tracking Confirmed delivery December 2, 2019 with tracking history

Tracking Number: 70190700000161765213

Your item was delivered to an individual at the address at 11:25 am on December 2,
2019 in CHARLOTTE, NC 28211. |

Status

 

Delivered

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December 2, 5619 at 11:25 am

Delivered, Left with Individual
CHARLOTTE, NC 28211

Get Updates
Delivered

Text & Email Updates

Tracking History

December 2, 2019, 11:25 am

Delivered, Left with Individual

CHARLOTTE, NC 28211

Your item was delivered to an individual at the address at 11:25 am on December 2,
2019 in CHARLOTTE, NC 28211.

December 2, 2019, 9:32 am
Arrived at Unit
CHARLOTTE, NC 28205

December 2, 2019, 4:30 am
Arrived at USPS Regional Destination Facility
MID CAROLINA-CHARLOTTE NC DISTRIBUTION CENTER

December 1, 2019, 9:42 am
Arrived at USPS Regional Destination Facility
CHARLOTTE NC DISTRIBUTION CENTER

November 30, 2019
In Transit to Next Facility

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November x7, 2019, 9:31 pm

Arrived at USPS Regional Origin Facility
SACRAMENTO CA DISTRIBUTION CENTER

November 27, 2019, 11:47 am
USPS in possession of item
SACRAMENTO, CA 95818

Product Information

Exhibit five — Velocity attorney appearance August 16, 2018 yet before the
appearance no response to complaint filed May 8, 2018

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Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 33 of 73

Case Liidew-Dazgd3s DOConle Mt WO bed ONES Page 1 ofl Page wv 1ig

U.S. District Court for the Northern District Of Iinois
Attomey Appearance Form

 

Case Tie: GARRISON JONES v. Case Number: 1:48-—v03288
VELOCITY TECHNOLOGY SOLUTIONS

Ar appearance is nereby fled by the urceragred as attorney for.
Defendant Veooty Tecn noogy Solutions

Aflomney name (type or pent): Tayor N. Rai ensonr

Frm: Ogeree, Deans, Nasr, Smcax & Stewart, P.C.
Sreet accress: +55 Nort Wacker Orve, Suite 4200
Cty StateiZm: Chicago, i 60606

Bar ID Number: 6293657 Teeprone Number. 312.558.4220
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if appomted counse’, aré you a

() Fecera: Defence
DJ CJA Pane Atiomey

 

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‘ Gaciare under senakyo! perjury hat hie foregoing ste and correct Under 25 USC 81745. vs
Sten ek. uNder Dorjury Nas So sane force ati effect as 3 aworn ste nent nade uider aah.

Executed of August 46, 2048

Afiomey agnature: S) Tayo N. Roerson
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Mees peed A2075

In the defendants motion it states:

“Plaintiff already filed suit in federal court against Velocity in a previous lawsuit in
the Northern District of Illinois, and thus understands his obligations to effect.

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The plaintiff’ does in tact understand his obligation, however in the Case in the Northern
District of Illinois, he also sent the defendants in the case filed by the plaintiff in the
Northern District of Illinois, there is no record of “service” filed by the plaintiff against
the defendants in this case.

The plaintiff mailed both the registered agent and the defendants a copy of the
complaint AND NOTICE OF A LAWSUIT AND REQUEST TO WAIVE
ERVICE OF SUMMONS via regular USPS mail, with no tracking or signature
requirements to verify that they in fact received the complaints. Again, the defendants
and their attorney is intentional lying to the court in regards to facts surrounding that
case. The defendants were represented by the same law firm as well OGLETREE,
DEAKINS, NASH, SMOAK & STEWART, P.C. In that case as in this one, the
defendants received these documents failed to respond and return the waiver as well.
Therefore, this shows that they think of themselves as if they do not have to comply
with the laws of this country and its court system. They simply ignore and go silent
however; they know of and failed to abide by the laws of the court system, any court
system,

This, is the track record of this law firm the court docket document history below
confirms and validates t this fact.

The docket history shows for case # 1:18-cv-03288 filed on may, 8, 2018 and from
May 8, 2018 to February 5, 2020 there is a total of 26 documents not one of them
show an affidavit of service of any kind. It does however show that the defendants
attorney filed their appearance on August 16, 2018 document number (9)

. Begging the courts pardon for any clarity in his motion as he has suffered 4 strokes in
the past 3 years and sometimes has issues with clarity and repeaters of facts.

With that said the motion filed by defendant attorney in representation of the
defendants outright lies, intentional fabrication / interpretation of the evidence

and fraud upon the court, meant to deceive the court by intentional misrepresentation of
the facts, all that can be easily be proved to be false. If the court cannot make that
determination from this response, the plaintiff wishes to make those observations at the
scheduled hearing. This has been a regular documented practice by every single
attorney that has been assigned by this law firm to this client. The court should be
aware; Mr. DeCristoforo is the (8"") Eighth attorney that has been assigned to this

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C 2.19-cv-02374-KJM-EFB_D 13. Ei 05/26/20 _P 35 of 73
client by 2020 OGLETREE, DEARINS, NASH, SMOAK & STEWART. PC. each of

them have been removed as replaced with “ the next big dog” and because each of
them have failed in their assignment. The reason being they have been unsuccessful is
because there is entirely too much evidence and exhibits that shows their clients guilt
and liability that no attorney has been unable to scale that mountain, that all have had
to revert to lies, fabrication, and even making false claims of fraud against the plaintiff
to charge him with a felony and put him in prison.

Repeatedly they have failed. In their motion it states “
Proper service of process “‘is the mechanism by which the court [actually] acquires’
the power to enforce a judgment against the defendant’s person”

They do not want to recognize and or comply with the mechanism, choosing to poke
holes at it. Yet in an inconsistent pattern and manner.

Proper procedure for Rule 4 have been followed to the letter. The plaintiff has |
followed the procedures in Rule 4 to the letter and it is the defendants who ignored the
complaint, failed their obligations to the court and their client by failing to give them
effective counsel, which is the main reason this litigation is before the court. If they
had simply returned the waiver, there would not be an issue before the court.

It is their helter-skelter legal advice that has put them in the position they are in.

As in both cases, if the plaintiff had not followed proper procedures in both cases, how
did the defendants know of the litigation that had been filed against them?

Why in one case they filed an appearance in a case that they when their client was not
“properly served” but they defended any way even though they had no legal reason to
do so, as they are making that same claim under the same conditions as the previous
case. It is simply acts of deceit, deception, fraud, and misrepresentation.

After the defendant and their registered agent received these documents, yet in the
case before the court where the exact same procedures were followed counsel
instructed them not to respond and as such forced the plaintiff to incur unnecessary
expense that now they claim is insufficient.

If the process of service was never questioned in a previous case yet they defended
client anyway they saw or claimed no insufficiency in the process yet in this case they

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Case 2:19-cv-02374-KJM-EFB Document 13, Filed Q5/26/20 Page 36 2 73
are adamantly claiming that it was not properly conducted in this case and filed a

lengthy motion for dismissal, full of lies, unproven facts, quotes of the law asking the
court to violate the law and dismiss the case.

It seems, more of a concern that they are doing this to prolong litigation by making
false assumptions to their client who they know just by their relationship is eventually
going to be indicted on both federal and state charges for a series of criminal acts they
have not only committed in this case but also others, that now the pandemic has

brought into light.

Insufficient is a claim that should be claimed when it legally viable and the events and
conditions are the same and or identical. That is what any counsel is taught in their
educational path in becoming an attorney, yet this counsel has thrown it out the
window. The same conditions existed yet the actions of the same counsel that
represented the client in one case, did not follow the same road map and make the same
claim in defense of their client.

Insufficient process is not the issue before the court. The issue is “fraud upon the
court” attorney misconduct and sanctions for the filing of litigation that is false with no
evidentiary support to move it forward or has a chance to be granted because of the
outrageous lies it contains and with the intent to once again commit fraud upon the
court.

The plaintiff has not been alleged to have committed a single act of misconduct in his
employment or otherwise. The defendants have not launched or filed a single counter-
claim against any allegation. The plaintiff at all times has been the victim of over 100
acts of vindictive retaliation from his former employer, why? for exercising his
protected right not to participate in criminal illegal activity by Velocity employees and
executives.

Was not claimed in one case and was “sufficient” in one case but it is insufficient in
another goes to an ineffective defense strategy as the circumstances and events related
to the Procedures related to Rule 4 that the plaintiff has followed in each case. It is the
defendants false claim of that process was not executed properly when it was executed
the same in each case.

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se 2:19-cv-02374-KJM- Document 13, Filed 05/26/20, Pa Pe of 7
In making, ot ers believe them an and their clie client only to it a brick wal I go silent when

the truth surfaces that totally squashes their statement that they knew were false from
the beginning. The same as it appears here. It appears based on his profile, he is a
managing shareholder shows the progression of the attorneys that have been assigned.

\ CONCLUSION

WHEREFORE For all of the reasons addressed herein, with the addition of the fact that
the defendants have created a “mirage” of lies, half-truths and false statements to the
court , with the intent to misled the court into making a ruling in their favorand with
the support of the exhibits respectfully asks this Court to deny defendants motion in its
entirety grant the plaintiffs motion for default judgement and put the defendants , their
counsel on notice for sanctions per Rule 11 for submitting a completely false pleading
to the court and to forward its sanctions to the California and Sacramento Bar
Associations for the purpose of filing of official misconduct.

AFFIDAVIT

Garrison Jones, Plaintiff, do hereby certify Respectfully submitted,
that the statements and allegations set forth

in the motion to be filed true and accurate GARRISON JONES, PLAINTIFF
to the best of our knowledge and belief. |

 

Garrison.jones@outlook.com

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SUPPORTING DOCUMENTATION IN SUPPORT OF
MOTION TO DENY DEFENDANT MPTION OF MAY 4,
2020

Fraudulent/forged documents sent to AZDES and Arizona court
of appeals

Including email from HR Director and General Counsel lying
stating that plaintiff was still employed after they terminated
him while on FMLA

Arizona Court of appeals decisions that show that they was
using the resources of AZDES to assist and use their resources t
to engage law enforcement to charge plaintiff with felony and
thus get him wrongfully convicted of a false crime.
Arizona Department of
Economic Security

 

1951 W. Camelback Road, Suite 400, Phoenix, AZ 85015, (602) 771-9019
Toll-Free 1-877-528-3330 FAX (602) 257-7056

 

GARRISON JONES

705 W LIBERTY DR

WHEATON, IL 60187-4842 DBA VELOCITY TECHNOLOGY
SOLUTIONS
1901 ROXBOROUGH RD FL 4
CHARLOTTE, NC 28211

Arizona Appeal No. U-1595392-001 Date of Mailing: 6/22/2018

Social Security No. SIGE Employer Acct. No. . 7428011000

 

DECISION OF APPEAL TRIBUNAL

 

The last day to file an appeal is _ July 23, 2018 _. Instructions for filing an appeal

are at the end of this decision.

IMPORTANT---THIS IS THE JUDGE’S DECISION REGARDING YOUR CLAIM FOR
UNEMPLOYMENT BENEFITS

The Department of Economic Security provides language assistance free of charge.
For assistance in your preferred language, please call our Office of Appeals (602) 771-
9019 or Toll-Free at 1-877-528-3330.

IMPORTANTE --- ESTA ES LA DECISION DEL JUEZ SOBRE SUS BENEFICIOS DE
SEGURO DE DESEMPLEO

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recibir ayuda en su idioma preferido, por favor comunicarse con la oficina de
apelaciones (602) 771-9019 o al numero gratuito 1-877-528-3330.

ISSUE:

Should the claimant be disqualified from receiving unemployment benefits because of
the reasons for separating from @mployment?
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 pod LE.

 

Should employer's account be charged for benefits paid the Ee as a result of this
employment?

The employer's account is subject to charges for benefits paid the claimant.

| set aside the deputy's ruling that the claimant quit this employment without good
cause.

 

hertiewmant .was discha: tcom this,employment, but not for wilful or negligent
misconduct. The claimant qualifies for benefits. ‘

FINDINGS OF FACT:

 

The claimant was lgst employed as aconsultant by the employer, a client based
technology firm, for approximately 13 months prior to being discharged on 3/24/2018.

The claimant had a stroke in November of 2017 and was absent from work. The
employer placed the claimant on FMLA in February of 2018 which would expire in May.
The claimant was scheduled for an evaluation with his doctor at the egg’ to
determine whether he would be released to return to work.

On March 15, 2018 the claimant was copied on an email from the Senior Director over
Infor practice to the Senior Vice President indicating that the claimant's name was still
showing up in the payroll system and that she understood from their last exchange that
the claimant was no longer employed, and asking whether she or the claimant's
supervisor could release him from the payroll.

The claimant was also contacted by 4 different individuals, including a head hunter firm,
who advised him that the employer was advertising his job.

The claimant emailed the employer’s general counsel on 3/24/2018 asking about his
employment status. The general counsel replied that the claimant was on FMLA. The
claimant responded asking why his job was posted? The general counsel did not
answer the claimant's reply.

THeWent has seneasggygenmes: to the employer to which he has not received a
reply.

In January the claimant filed a complaint with the employer's human resources
department, alleging discrimination.

In February he filed charges with the EEOC. Charges were dismissed in March and the
claimant was given a right to sue letter.

Page 2—Arizona Appeal No. U-1595392-001
Case 2:19-cv-02374-KJM-EFB Document 13 cuoppsodicteo(h ,

The claimant filed a claim for unemployment insurance in April and filed a lawsuit
against the employer in May as well as another EEOC compiaint.

REASONING AND CONCLUSIONS OF LAW:

 
 

5 se ication of § actions 23- i and 23-727 of the Employment Security Law of
Arizona.

Section 23-775 of the Arizona Revised Statutes provides in pertinent part as follows:
An individual shall be disqualified from benefits:

1. For the week in which the individual has left work voluntarily
without good cause in connection with the employment, and in
addition to the waiting week, for the duration of the individual’s
unemployment and until the individual has earned wages in an
amount equivalent to five times the individual’s weekly benefit
amount otherwise payable. ...

2. For the week in which the individual has been discharged for
wilful or negligent misconduct connected with the employment,
and in addition to the waiting week, for the duration of the
individual's unemployment and until the individual has earned
wages in an amount equivalent to five times the individual’s
weekly benefit amount otherwise payable.

Arizona Revised Statutes, Section 23-727, provide in pertinent part as follows:

C. Except as otherwise provided in subsections D, E, F and G of
this section and sections 23-773 and 23-777, benefits paid to an
individual shall be charged against the accounts of the
individual’s base-period employers. The amount of benefits so
chargeable against each base-period employer's account shall
bear the same ratio to the total benefits paid to an individual as
the base-period wages paid to the individual by the employer
bear to the total amount of base-period wages paid to the
individual by all the individual’s base-period employers.

D. Benefits paid to an individual whose separation from work with
any employer occurs under conditions found by the commission
to be within those prescribed by section 23-775, paragraph 1 or
2 or for compelling personal reasons not attributable to the
employer and not warranting disqualification for benefits, shall
not be used as a factor in determining the future contribution

Page 3—Arizona Appeal No. U-1596392-001
 

Case 2:19-cv-02374-KJM-EFB Document 13 Filed Appt t ha.

a. If a statement is denied by another party, and not
supported by other evidence, it cannot be
presumed to be true.

b. When a discharge has been established, the
burden of proof rests on the employer to show that
it was for disqualifying reasons. This burden may
be discharged by an admission by the claimant, or
his failure or refusal to deny the charge when faced
with it.

c. An employer who discharges a worker and charges
misconduct but refuses or fails to bring forth any
evidence to dispute a denial by the claimant does
not discharge the burden of proof. It is important
to keep in mind that mere allegations of
misconduct are not sufficient to sustain such a
charge.

The evidence shows that the claimant believed that he was to be discharged because
he was copied on an email that indicated that he was no longer employed and because
his job was posted for hire. The claimant contacted the employer’s general counsel who
failed to answer the claimant’s question as to why his job was posted.

 

B. J. Cather
Administrative Law Judge

CASE HISTORY:

Effective Date of Initial Claim: 4/8/2018 issue Code: 10,20
Date of Separation: 3/24/2018

Date of Determination: 5/17/2018

Appealed By: Claimant

Date of Hearing: 6/22/2018

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Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 43 of 73

Appel we

Place of Hearing: Teleconferencing from Tucson, Arizona
Appearances: Claimant

Distribution:

Claimant

Employer

BPC PHOENIX Site Code 918-B2

Electronic Distribution:
Claimant: garrison.jones@outlook.com

 

File

BC/aj

 

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DESEMPLEO. Si USTED NO LEE INGLES, COMUNIQUESE CON SU OFICINA
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APPEAL AND REOPENING RIGHTS

THIS DECISION WILL BECOME FINAL UNLESS YOU FILE A SIGNED WRITTEN
PETITION FOR REVIEW AND/OR A REQUEST TO REOPEN BY THE APPEAL
DEADLINE DATE.
IF YOU WISH TO APPEAL THIS DECISION OR REQUEST REOPENING:
1. File your Petition for Review or Request to Reopen by Internet by going to
www.azui.com and then clicking "Appeal a Ul Decision.” (The option of filing
an appeal by Internet is only available to claimants at this time.)

OR, SUBMIT THE ENCLOSED FORM OR WRITE ALETTER USING ONE OF THE
OPTIONS BELOW:

2. Fax the Petition for Review or Request to Reopen to (602) 257-7056.

3. Mail or hand deliver the Petition for Review or Request to Reopen to:

ARIZONA DEPARTMENT OF ECONOMIC SECURITY
Office of Appeals

Page 7—Arizona Appeal No. U-1595392-001
  
 
 
  

Arizona Department of
Economic Security

1951 W. Camelback Road, Ste 400, Phoenix, AZ, 85015 (602)771-9019
Toll Free 1(877)528-3330 FAX (602)257-7056

GARRISON JONES
705 W LIBERTY DR
WHEATON, IL 60187-4842

ESPLADE CENTER III
2415 E CAMELBACK RD STE #800
PHOENIX, AZ 85016

Arizona Appeal No. U-1600605-001 Date of Mailing: 8/20/2018

Social Security a Employer Acct. No. 7428011-000

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NOTICE TO CLAIMANT

 

 

 

 

  
 

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EE

Today, I made a separate decision that found the employer did not have good cause for failing to appear at the hearing
scheduled for 6/22/2018 and that the hearing would not be reopened. I am dismissing your appeal because the

 

However, you may request further review of my other decision that you did

not have ‘good muse for failing to to appear at the scheduled hearing.
EE

Richard Ebert
Administrative Law Judge
      

Case 2:19-cv-02374-KJM-Gfemerad adjedieatiowed 05/26/20 -Pae~

UB-098 Claimant SSN: 361 $6 10080

Issue: Able Base Period Separation: No

Basis: -
ABILITY TO WORK oy [ It . by
BPR: l | | f .
R6-3-52235.A, .

' _ Reasoning and Conclusion:
a SEE: CB 100.

oe ‘Additional Text:

CAM WRITTEN STATEMENT:

UB436 SENT ON 4/19/18 DUE BACK ON 424/18
SEE UB-~436R IN ONBASE RECD 5/2/18

CLMT CALL: ON 5-4-18 AT 11:22AM PHN: 916-870-4960, LEFT MESSAGE TO RESPOND BY 5-8-18 BY 11:24AM AND ADVISED
OF CONSEQUENCES.

CLAIMANT RETURNED CALL ON 3-7-18 AT 1:33PM PRIN, 916-870-4960, T/C WITH CLAIMANT: .

a3 oe STATES HE RAD A STROKE IN NOVEMBER OF 2017. CLMT 18 STILL UNDER DoCTERS CARE UNTIL sans.

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Arizona Department of Off

Economic Security

 

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GARRISON JONES

IN CARE OF BIRTE

PO BOX 1751

SACRAMENTO, CA 95812-1751

Arizona Appeal No. U-1639659-001 Date of Mailing: 10/23/2019

Social Security No. qa

 

DECISION OF APPEAL TRIBUNAL

  

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appeal are at the end of this decision.

 

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apelaciones (602) 771-9019 o al numero gratuito 1-877-528-3330.

ISSUE:
Was the claimant able to work beginning 4/8/2018?
DECISION:

lreverse the deputy's ruling. The claimant was able to work from 4/8/2018 through
5/19/2018.
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 47 of 73

Appl tO

The claimant was last employed as a Lead Supply Chain Consultant by a Technology
company in Phoenix, AZ, for approximately one year prior to separating from this job on
3/15/2018.

FINDINGS OF FACT:

The claimant was able to work beginning 3/22/2018. There is no documentation which
establishes an inability to work after 3/22/2018.

REASONING AND CONCLUSIONS OF LAW:

 

The claimant has contested a Determination of Deputy that held the claimant was not
able to work beginning 4/8/201 8.

Arizona Revised Statutes, Section 23-771, provide in pertinent part as follows:

An unemployed individual shall be eligible to receive benefits with
respect to any week only if the department finds that the individual:

* * *

3. Is able to work.
The Arizona Administrative Code, in Section R6-3-52235, provides in pertinent part:
A. General

1. Ability to work, a requisite for eligibility for benefits,
generally means the physical and mental capacity of an
individual to work under circumstances that ordinarily
exist. Thus, ability to work is defined as the possession
of the physical and mental capabilities necessary to the
performance of suitable work for which one is reasonably
fitted. Conversely, inability to work refers to a lack of
physical or mental ability to such a degree as to prevent
the acceptance of work for which one is reasonably fitted
which renders him unemployable.

The evidence presented establishes the claimant’s ability to work from 3/22/2018
forward. The claimant did not elect for FMLA but was provided such time by his previous
employer. Their reason for giving the claimant FMLA is insufficient to establish an
inability to work on behalf of the claimant. The claimant has present documents from his
physician which cleared him for work. In the absence of any other evidence which
shows the claimant was unable to work, | find the claimant was able to work during the
time period of 4/8/2018 to 5/19/2018.

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Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 48 of 73

Therefore, ebeorchude ..that.the.claimant's physical condition did pps #
under ordinary circumstances, of work for which the claimant is reasonably fitted by
training and experience. Accordingly, the.claimant was..able. to work from 4/8/2018

terough 5/19/2018,

| Shaka SA i!

 

CASE HISTORY:

Effective Date of Initial Claim: 4/8/2018 Issue Code: 01
Date of Determination: 5/17/2018
Appealed By: Claimant
Date of Hearing: 10/23/2019
«-Place of Hearing: Teleconferencing from Phoenix, Arizona

Distribution:
Claimant
BPC PHOENIX Site Code 918-B2

File

dw /db
APPEAL/REOPENING DEADLINE: NOVEMBER 22, 2019

(ESTE DOCUMENTO AFECTA SU ELIGIBILIDAD PARA SEGURO

POR DESEMPLEO. SI USTED NO LEE INGLES, COMUNIQUESE

CON SU OFICINA LOCAL O BUSQUE QUIEN LE TRADUZCA)
APPEAL AND REOPENING RIGHTS

THIS DECISION WILL BECOME FINAL UNLESS YOU FILE A SIGNED WRITTEN

PETITION FOR REVIEW AND/OR A REQUEST TO REOPEN BY THE APPEAL

DEADLINE DATE.

IF YOU WISH TO APPEAL THIS DECISION OR REQUEST REOPENING:

Page 3—Arizona Appeal No. U-1639659-001
 

Case 2:19-cv-02374-KJM-EFB Document 13 Filed Q5/ ge ABE
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Arizona Department of
Economic Security

   

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Toll-Free 1-877-528-3330 FAX (602) 257-7056

GARRISON JONES

IN CARE OF BIRTE

PO BOX 1751

SACRAMENTO, CA 95812-1751

Arizona Appeal No. U-1642697-001 Date of Mailing: 10/29/2019

Social Security No -.qiiRgga>-

 

DECISION OF APPEAL TRIBUNAL

‘CLAIMANT: WAS. OVERPAID-BENEFITS™
HOWEVER, CLASSIFICATION OF OVERP
._ GibiiiG

PRES . a w

 

 

The last day to file an appeal is

 

. Instructions for filing an
appeal are at the end of this decision.

IMPORTANT---THIS IS THE JUDGE’S DECISION REGARDING YOUR CLAIM FOR
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ISSUE:

Was the Claimant overpaid benefits? If yes, what is the amount and classification of the
overpayment?
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 AIPA

if the overpayment classification in the Determination of Overpayment is fraud, what is
the amount of the penalty?

DECISION:

| affirm but modify the Determination of Overpayment dated 10/1/2019. The Claimant
was.overpaid benefits in the amount oF $980.00. The overpayment is classified as non-
fraud. No penalty is ‘due.

FINDINGS OF FACT:

 

The Claimant received benefits in the amount of $240.00 for each of the weeks ending
7/7/2018 through 7/28/2019 for a total of $960.00.

The claimant had previously Been disqualified from receiving benefits based upon his
separation from his last employment. Upon appeal, the Determination of Deputy that
disqualified him was reversed in a Decision of Appeals Tribunal dated 6/22/2018.

Prior the Decision that found him eligible to receive benefits, the claimant had not
received any benefit payments on his claim. He was advised by the Program to fill out
his weekly benefit claims as he did in the past.

The claimant became reemployed on 6/27/2019. He worked and earned wages during
the benefit weeks ending 7/7/2019 through 7/28/2019. When he filed his claims for each
of those benefit weeks, he answered "no" to the question of whether he worked or
earned any money during those benefit weeks. He answered “no” because he was
under the misapprehension that he had to fi le those claims | in order to receive benefits
for the weeks for which he :was.pr sly. ee hoe to reflect what his
situation was for those previously unpaid Weeks when he was not, in fact, employed.

 

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ordey to receive benefits to whic 1 hié Was not entitled.

REASONING AND CONCLUSIONS OF LAW:

The issues are (1) whether the Claimant has been overpaid benefits, (2) the amount
and the classification of any such overpayment, and (3) if applicable, the amount of
fraud penalty due.

Arizona Revised Statutes, Section 23-787, provide in pertinent part as follows:

A. A person who receives any amount as benefits under this chapter
to which the person is not entitled is liable to repay the overpaid
amount to the department. The department may deduct all or a
portion of the overpayment from future benefits payable to the
person under this chapter.

Page 2—Arizona Appeal No. U-1642697-001
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 51 of 73

(PLEASE BE AWARE THAT THE DEFENDANT IS SUBMMITTING THE ORIGINAL DOCUMENT BUT LATER SENT A FRAUDELANT
DOCUMENT THAT WAS ALTERED. ABOVE IS THE ORIGINAL DOCUMENT,)

PLAINTIFF COUNTER DOCUMENTATION TO FRAUD BY DEFENDANT — FRAUD 2

ACTUAL PHYSICIAN STATEMENT FROM PLANITFF DOCTOR SENT TO DEFENDANT ON 12/21/2017 THAT THEY HAD IN THEIR
POSESSION AT THE TIME THEY SENT FRAUD DOCUMENT 2 TO ARIZONA DEPARTMENT OF ECONOMIC SECURITY. THE
PHYSICIAN STATEMENT CLEARLY SHOWS THAT PLAINTIFF WAS CLEARED TO RETURN TO WORK ON 3/22/2018

IN ADDITION, THE JUDGE WHO READ ALL OF THE DOCUMENTS FROM APPEAL HEARING AZ APPEAL U1595392-001
MENTIONED ON THE RECORD, HOW CAN YOU BEON FMLAIN APRIL WHEN THEY TERMINATED YOU IN MARCH ?

AZ COURT OF APPEALS DECISION- ARIONA APPEAL U-163959-001 ARIZONA FRAUD 2

GARRISON JONES

IN CARE OF BIRTE

PO BOX 1751

SACRAMENTO, CA 95812-1751

Arizona Appeal No. U-1639659-001 Date of Mailing: 10/23/2019
Social Security No. XXX-XX-XXXX

a
DECISION OF APPEAL TRIBUNAL

IN FAVOR OF CLAIMANT

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The last day to file an appeal is November 22, 2019 . instructions for filing an
appeal are at the end of this decision.

The evidence presented establishes the claimant's ability to work from 3/22/2018
forward. The claimant did not elect for FMLA but was provided such time by his previous
employer. Their reason for giving the claimant FMLA is insufficient to establish an
inability to work on behaif of the claimant. The claimant has present documents from his
physician which cleared him for work. In the absence of any other evidence which
shows the claimant was unable to work, | find the claimant was able to work during the
time period of 4/8/2018 to 5/19/2018.

Page 2—Arizona Appeal No. U-1639659-001
Arizona Department of
Economic Security

 

1990 W. Camelback Road, Suite 200, Phoenix, AZ 85015, (602) 771-9019
Toll-Free 1-877-528-3330 FAX (602) 257-7056

GARRISON JONES

IN CARE OF BIRTE

PO BOX 1751

SACRAMENTO, CA 95812-1751

Arizona Appeal No. U-1642697-001 Date of Mailing: 10/29/2019

Social Security No. @aaas

 

DECISION OF APPEAL. TRIBUNAL

 

The last day to file an appeal is _November 29, 2019 . Instructions for filing an

 

appeal are at the end of this decision.

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ISSUE:

Was the Claimant overpaid benefits? If yes, what is the amount and classification of the
overpayment?
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 53 of 73

If the overpayment classification in the Determination of Overpayment is fraud, what is
the amount of the penalty?

DECISION:

| affirm but modify the Determination of Overpayment dated 10/1/2019. The Claimant
was overpaid benefits in the amount of $960.00. The overpayment is classified as non-
fraud. No penalty is due.

FINDINGS OF FACT:

 

The Claimant received benefits in the amount of $240.00 for each of the weeks ending
7/7/2018 through 7/28/2019 for a total of $960.00.

The claimant had previously been disqualified from receiving benefits based upon his
separation from his last employment. 4ipameeppeal, thaetermination ef Depaty™ that *
disqualified. him, was-reversed in.a Decision.of Appeals Tribunal dated 6/22/2018.

Prior the Decision that found him eligible to receive benefits, the claimant had not
received any benefit payments on his claim. He was advised by the Program to fill out
his weekly benefit claims as he did in the past.

The claimant became reemployed on 6/27/2019. He worked and earned wages during
the benefit weeks ending 7/7/2019 through 7/28/2019. When he filed his claims for each
of those benefit weeks, he answered "no" to the question of whether he worked or
earned any money during those benefit weeks. He answered "no" because he was
under the misapprehension that he had to file those claims in order to. receive benefits
for the weeks for which he was previously declared ineligible, to reflect what his
situation was for those previously unpaid weeks when he was not, in fact, employed.

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orderto receive benefits to wrichr he-was-nat.entitled.

REASONING AND CONCLUSIONS OF LAW:

 

The issues are (1) whether the Claimant has been overpaid benefits, (2) the amount
and the classification of any such overpayment, and (3) if applicable, tee ameunt of.

dmanna Revised Statutes, Section. 23-787, provide in pertinent part as follows:

A. A person who receives any amount as benefits under this chapter
to which the person is not entitled is liable to repay the overpaid
amount to the department. The department may deduct all or a
portion of the overpayment from future benefits payable to the
person under this chapter.

Page 2—Arizona Appeal No. U-1642697-001
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 54 of 73

6. "Benefit overpayment classified administrative" means an
overpayment which occurred without fault on the part of
the claimant.

 

overpayment occurred because a claimant knowingly
misrepresented or concealed material facts in order to
obtain benefits to which the claimant was not entitled.

8. "Benefit overpayment classified non-fraud" means an
overpayment created because the claimant
unintentionally gave incorrect or incomplete information.

Although the claimant testified that he was not sure whether he received benefits for
each of the four weeks in issue here, he did not present any evidence to contradict the
Program’s record (Exhibit “2") that reflect that payments were made to him for each of
the benefit weeks ending 7/7/2018 through 7/28/2018, nor did he deny that he did, in
fact, work and earn money during those weeks.

Accordingly, | find that the claimant received benefits in the total amount of $960.00 for
the weeks in question

Although the claimant had indicated that he did not work or earn any money during the
weeks in question when he filed claims during those benefit weeks, he answered "no"
because he was under the misapprehension that he had to file those claims in order to
receive benefits for the weeks for which he was previously declared ineligible, to reflect
what his situation was for those previously unpaid weeks when he was not, in fact,
employed.

Although the claimant argues that the classification of the overpayment should be
administrative because the Program created the overpayment due to its failure to timely
resolve an eligibility issue based upon a question concerning his ability to work, it was
the claimant, and not the Program who filed each of the weekly benefit claims in
question, and it was the claimant, and not the Program who supplied the answers to the
questions on the claim forms. Accordingly, | cannot hold that the overpayment occurred
without fault on the part of the claimant.

Due to the circumstances of this case, however and the claimant’s explanation as to
why he filed the claims the way he did, | find that the claimant did not intentionally give
incorrect or incomplete.information to the Program. @eearanigty, Tfird ay

 

Therefore, | conclude that the claimant was overpaid benefits, but that the overpayment
must be modified with regard to classification. The claimant was overpaid benefits in
the amount of $960.00 and the overpayment is classified non-fraud.

Page 4—Arizona Appeal No. U-1642697-001
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 55 of 73

Administrative Law Judge
CASE HISTORY:

wt-ffective Date of tnitiarClaim: 8/25/2019 - Issue Code: OV, OV01
Date of Determination: 10/1/2019

 

Date of Hearing: 10/29/201 9
Place of Hearing: Teleconferencing from Tucson, Arizona
Wppearances: Claimant...

Distribution:
Claimant
BPC PHOENIX Site Code 918-B2

Electronic Distribution:
Claimant: garrison.jones@outlook.com
BUnit@azdes.gov

 

File
SR

APPEAL/REOPENING DEADLINE: NOVEMBER 29, 2019

APPEAL RIGHTS

THIS DECISION WILL BECOME FINAL UNLESS YOU FILE A SIGNED WRITTEN
PETITION FOR REVIEW BY THE APPEAL DEADLINE DATE.

IF YOU WISH TO APPEAL THIS DECISION:
1. File your Petition for Review by Internet by going to www.azui.com and then

clicking "Appeal a U! Decision.” (The option of filing an appeal by Internet is
only available to claimants at this time.)

Page 5—Arizona Appeal No. U-1642697-001
   

Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 56 of 73

Equal Opportunity Employer/Program « Under Titles VI and VII of the Civil Rights Act of 1964 (Title VI & VII), and
the Americans with Disabilities Act of 1990 (ADA), Section 504 of the Rehabilitation Act of 1973, the Age
Discrimination Act of 1975, and Title II of the Genetic Information Nondiscrimination Act (GINA) of 2008; the
Department prohibits discrimination in admissions, programs, services, activities, or employment based on race, color,
religion, sex, national origin, age, disability, genetics and retaliation.. The Department must make a reasonable
accommodation to allow a person with a disability to take part in a program, service or activity. For example, this
means if necessary, the Department must provide sign language interpreters for people who are deaf, a wheelchair
accessible location, or enlarged print materials. It also means that the Department will take any other reasonable action
that allows you to take part in and understand a program or activity, including making reasonable changes to an
activity. If you believe that you will not be able to understand or take part in a program or activity because of your
disability, please let us know of your disability needs in advance if at all possible. To request this document in
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at (602)771-9019 or toll-free at 1(877)528-3330; TTY/TDD Services: 7-1-1. * Free language assistance for DES
services is available upon request.

REPRESENTATION: You may have someone represent you. If you pay the representative, then that person must be
a licensed Arizona attorney or be supervised by one. An employer may also use any employee of the business as its
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Employer Representative

BPC PHOENIX Site Code 918-BZ° *

Electronic Distribution: —_

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Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 57 of 73

Arizona Department of
Economic Security

 

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Appeal Staff

 

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PHOENIX, AZ 85016
Arizona Appeal No. U-1600605-001 Date of Mailing: 8/20/2018
Social Security No fiiRES Employer Acct. No. 7428011-000

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NOTICE TO CLAIMANT

 

 

 

 

 

 

 
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 58 of 73

Equal Opportunity Employer/Program * Under Titles VI and VII of the Civil Rights Act of 1964 (Title VI & VII), and
the Americans with Disabilities Act of 1990 (ADA), Section 504 of the Rehabilitation Act of 1973, the Age
Discrimination Act of 1975, and Title II of the Genetic Information Nondiscrimination Act (GINA) of 2008; the
Department prohibits discrimination in admissions, programs, services, activities, or employment based on race, color,
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REPRESENTATION: You may have someone represent you. If you pay the representative, then that person must be
alicensed Arizona attorney or be supervised by one. An employer may also use any employee of the business as its
representative. This office does not provide representatives.

Distribution:

Claimant

Employer Representative

BPC PHOENIX Site Code 918-B2

Electronic Distribution:
Employer: ryan.mangum@ogletreedeakins.com
File

RE/aj
Case 2:19-cv-02374-KJM-EFB Dgcument 13 Filed 05/26/20 Page 59 of 73
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Arizona Department of

Economic Security Office Of Appeals

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GARRISON JONES

IN CARE OF BIRTE

PO BOX 1751

SACRAMENTO, CA 95812-1751

Arizona Appeal No. U-1639659-001 Date of Mailing: 10/23/2019

Social Security No. XXX-XX-XXXX

 

DECISION OF APPEAL TRIBUNAL

IN FAVOR OF CLAIMANT

 

The last day to file an appeal is _November 22, 2019 . Instructions for filing an

 

appeal are at the end of this decision.

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UNEMPLOYMENT BENEFITS

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9019 or Toll-Free at 1-877-528-3330.

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recibir ayuda en su idioma preferido, por favor comunicarse con la oficina de
apelaciones (602) 771-9019 o al numero gratuito 1-877-528-3330.

ISSUE:
Was the claimant able to work beginning 4/8/2018?
DECISION:

lreverse the deputy's ruling. The claimant was able to work from 4/8/2018 through
5/19/2018.

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Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 60 of 73

FINDINGS OF FACT:

The claimant was last employed as a Lead Supply Chain Consultant by a Technology
company in Phoenix, AZ, for approximately one year prior to separating from this job on
3/15/2018.

The claimant was able to work beginning 3/22/2018. There is no documentation which
establishes an inability to work after 3/22/2018.

REASONING AND CONCLUSIONS OF LAW:

 

The claimant has contested a Determination of Deputy that held the claimant was not
able to work beginning 4/8/2018.

Arizona Revised Statutes, Section 23-771, provide in pertinent part as follows:

An unemployed individual shall be eligible to receive benefits with
respect to any week only if the department finds that the individual:

* * *

3. Is able to work.
The Arizona Administrative Code, in Section R6-3-52235, provides in pertinent part:
A. General

1. Ability to work, a requisite for eligibility for benefits,
generally means the physical and mental capacity of an
individual to work under circumstances that ordinarily
exist. Thus, ability to work is defined as the possession
of the physical and mental capabilities necessary to the
performance of suitable work for which one is reasonably
fitted. Conversely, inability to work refers to a lack of
physical or mental ability to such a degree as to prevent
the acceptance of work for which one is reasonably fitted
which renders him unemployable.

The evidence presented establishes the claimant's ability to work from 3/22/2018
forward. The claimant did not elect for FMLA but was provided such time by his previous
employer. Their reason for giving the claimant FMLA is insufficient to establish an
inability to work on behaif of the claimant. The claimant has present documents from his
physician which cleared him for work. In the absence of any other evidence which
shows the claimant was unable to work, | find the claimant was able to work during the
time period of 4/8/2018 to 5/19/2018.

Page 2—Arizona Appeal No. U-1639659-001
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 61 of 73

Therefore, | conclude that the claimant's physical condition did allow performance,
under ordinary circumstances, of work for which the claimant is reasonably fitted by
training and experience. Accordingly, the claimant was able to work from 4/8/2019
through 5/19/2018.

D. Whiting
Administrative Law Judge

CASE HISTORY:

Effective Date of Initial Claim: 4/8/2018 Issue Code: 01
Date of Determination: 5/17/2018

Appealed By: Claimant

Date of Hearing: 10/23/2019

Place of Hearing: Teleconferencing from Phoenix, Arizona
Appearances: Claimant

Distribution:
Claimant
BPC PHOENIX Site Code 918-B2

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APPEAL/REOPENING DEADLINE: NOVEMBER 22, 2019

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APPEAL AND REOPENING RIGHTS

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PETITION FOR REVIEW AND/OR A REQUEST TO REOPEN BY THE APPEAL

DEADLINE DATE.

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Page 3—Arizona Appeal No. U-1639659-001
Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 62 of 73

garrison jones@outlook.com

From: Gallardo, Monica, D <MGallardo-Garcia@azdes.gov> on behalf of UIA Client Advocate
<UIAClientAdvocate@azdes.gov>

Sent: Friday, May 4, 2018 2:36 PM

To: Garrison Jones

Subject: RE: Garrison Jones - Supporting documents

All document have been submitted on your behalf.
Thanks,

Monica Gallardo-Garcia

Client Advocate

(602)542-5954
Fax (520)746-4466

ARIZONA [G4 WORK:

From: Garrison Jones [mailto:garrison.jones@outlook.com]
Sent: Wednesday, May 02, 2018 9:08 AM

To: UIA Client Advocate <UIAClientAdvocate@azdes.gov>
Subject: Garrison Jones - Supporting documents
Importance: High

They are attached. | am going to make a suggestion that you folks get your legal department involved. They do not care
other than hurting me.

Any way they can. They are lying saying | am still with the company. They terminated me without my knowledge, while
| was on FMLA and because | refused to participate in illegal activity.

They have been and continue to intentionally lie to state and federal agencies in covering up these acts of discrimination

| have attached as much documentation that you need and will forward others in a few min

From: Gallardo, Monica, D [mailto:MGallardo-Garcia@azdes.gov] On Behalf Of UIA Client Advocate
Sent: Wednesday, May 2, 2018 10:28 AM

To: GARRISON JONES@OUTLOOK.COM

Subject: unemployment

Per your request here is my email address.

Thanks,
se 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Page 63 of 73

Monica Gallardo-G Garcia

Client Advocate
(602)542-5954

Fax (520)746-4466
ARIZONA ZGGWORK

 

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named above by reply e-mail, and then delete the original e-mail. Thank you.
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Case 2:19-cv-02374-KJM-EFB Document 13 Filed 05/26/20 Pag? 65 of

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Fo: Cnave Veascy

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Subject. Garnson joocs

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feo mains en ADP repering ta Michac! B. Please tet us know if Michael on mvselt have oper act
Tehcase Garrison.

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SS SR Ta we ie cachet wea oo Sec, re a eee ae ors.
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March 15, 2018 plaintiff received the first mysterious email saying that he was no longer with
Velocity. Message was from defendant Susan Holtapp Senior Director ,, Infor Practice to Defendant
Chance Veasey, then Vice President of Infor Practice ( Chance demoted as a result failures in the
theft of IP that he approved that failed) Plaintiff was cc’d on this message that went to his personal
email account

Plaintiff action - Plaintiff sent email to defendant Shauna Coleman, HR Director, where she denied
that plaintiff had been terminated. Plaintiff knew she was lying and attempting to cover up the
illegal act.

Both responded that plaintiff had not been terminated

21
From: Garrison jones trison.i oO > . Ko
From: Gar ithe Sete nn arc rucuiacacd Document 13 Filed 05/26/20 Pag

To: chris.heller@velocitycloud.com
Ce: shauna.coleman@velocitycloud.com
Subject: Re: Employment Status - supporting Documentation - unanswered request Feb 24, 2018

D

  

So please clarify what is my employment status?

From: Garrison Jones

Sent: Friday, March 16, 2018 7:50:24 AM

To: chris.heller@velocitycloud.com

Cc: shauna,coleman@velocitycloud.com

Subject: Employment Status - supporting Documentation - unanswered request Feb 24, 2018

in response to your message as to who told me that | had been terminated

1. {sent the message below to both you and Shauna Coleman on 2/24/2018 that neither of you responded to, as a
friend tipped me off that Velocity was looking for a “Lead Procurement consultant and sent me the link to the
position below. Now again somebody for the 37" time is lying

Sources

  

1

Chris Heller < chs halleri@velocityctoud coms

RE: Eropleyrnerd Status - supporting Documentation - unanswered request Feb 24,2018

  

ima Coleman

vou repbed to this meszage an 3/20/2018 17.06 SM,

Garrison, .
You are a Velocity employee that is currently on unpaid leave pursuant to the Family and Medical Leave Act.

Chris Heller | SVP & General Counsel | Velocity Technology Solutions, Inc.
G 704.593.3423| m 816.678.5162 | f 703.935.4308 | velorityehaud. com

22
ARIZONA FRAUD bh og. -Cv-02374-KJM-EFB Document 13 Filed 05/26 Page&8of 73
DEFENDANT VELOCITY FRAUD SENT TO ARIZONA DEPARTMENT OF ECONOMIC SECURITY

 

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190) BGxXBORGUGH BE fi 4 .
CRARLorT2 wc 28211 Poential Charges:
GARRISCH JONRS . nag hed « claim fer Unempinyrert inauarce on

6/18/2018. The Deparanars's Scarce show you Nom was. tne claimartty LAST SHPULDTER,

“Hf you sre the ant fimpiorper. the claimant ied thie rasson tor seperation tom your amploymeriaa  DLSCKARGE

end ptuind de inet dey worked wae - 63/15/2018,

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_ EMPLOYERS RESPONBE
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PLAINTIFF ACTION — APPEAL

PLAINTIFF COUNTER DOCUMENTATION TO FRAUD BY DEFENDANT — FRAUD 1

garrison jones@ outlook.com

 

From: Susan Holtapp <susan-holtapp@velocitycloud.cam>
Sent. Thursday, March 35, 2038 8:09 AM

To: Chance Veasey

Cc Garrison Jones

Subject: Garrison Jones

Chance,

L understood from our last exchange that Garrison Jones was no longer employee of Velocity. His record ,
remains in ADP reporting to Michael B. Please let us know if Michael or myself have open action item to
release Garrison.

Regards,
Susan

Susan Holtapp-Freiday { Velocity Technology Solutions, Inc.
Sr. Practice Director Professional Services. Infor Line of Business.
é int 612 6320914.

tycloud.com f--stdite valociycioud com

 

DEFENDANT VELOCITY TECHNOLOGY SOLUTIONS FRAUD SEN SAME DOCUMENT TO AZ COURT OF APPEALS — June 21, 2018
2
If your leave does qualify as FMLA ‘cave you will have the following responsibilities while on FMLA leave (only checked blanks apply): L

Jv Contact shat Gola 02374-KJIM-E FB shebalabicelatefaeialayliste con led, 05/26/. 20 ete ace Pad ake your share
of the premium payments on your health insurance to maintain health benefits while you are on leave. You have a minimum 30-day (or, indicate
longer period, if applicable) grace period in which to make premium payments. If payment is not made timely, your group health insurance may be
cancelled, provided we notify you in writing at least 15 days before the date that your health coverage will lapse, or, at bur option, we may pay your
share of the premiums during FMLA leave, and recover these payments from you upon your retum to work.

 

You will be required to use your available paid sick, vacation, and/or other leave during your FMLA absence. This
means that you will receive your paid leave and the leave will also be considered protected FMLA I FMLA leave and counted against your FMLA leave
entitlement.

Duc to your status within the company, you are considered a “key employee” es defined in the FMLA. Asa “key employee,” restoration to
employment may be denied following FMLA leave on the grounds that such restoration will cause substantial and gricvous economic injury to us.
We__have/__ have not determined that restoring you to employment at the conclusion of FMLA leave will cause substantial and grievous
economic harm to us.

While on leave you will be required to 0 famish us with Periodic reports of your sams and intent to retum ta workevery
(indicate interval of periodic iate for

If the circumstances of your leave change, and you are able to return to work earlier than the date indicated on the this form, you will be required
to nofify us at least two workdays prior to the date you intend to report for work.

If your leave does qualify as FMLA leave you will have the following rights while on FMLA leave: r/ A [qoyes

« = You have a right under the FMLA for up to 12 weeks of unpaid leave in 2 12-moath period calculated as: bel b
the calendar year (January - December). my 7

a fixed leave year based on As ‘

_ the 12-month period measured forward from the date of your first FMLA leave usage. phy Stat nee
L Wyre

¥ a “rolling” 12-month period measured backward from the date of any FMLA leave usage.

e You have a right under the FMLA for up to 26 weeks of unpaid leave in 4 single 12-month period to care for a covered servicemember with a serious
injury or illness. This single 12-month period commenced on

® Your health benefits must be maintained during any period of unpaid leave under the same conditions as if you continued to work

® ‘You must be reinstared to the same or an equivalent job with the same pay, benefits, and terms and conditions of employment on your retum from
FMLA-protected leave. (if your leave extends beyond the end of your FMLA qntitlement, you do not have retum rights under FMLA.)

@ — Ifyou do not retum to work following FMLA leave for a reason other than: 1) the continuation, recurrence, or onset of a ssrious health condition which
would catitle you to FMLA leave; 2) the continuation, recurrence, or onset of 2 covered servicemember's serious injury or illness which would entitle
you to FMLA leave; or 3) other circumstances beyond your control, you may be required to reimburse us for our share of health insurance premiums
paid on your behalf during your FMLA leave.

® If we have not informed you above that you must use accrued paid lesve while taking your unpaid FMLA leave entitlement, you have the right to have

____ sick, __ vacation, and/or__ other leave run concurrently with your unpaid leave entitlement, provided you meet any applicable requirements —
of the leave policy. Applicable conditions related to the substitution of paid leave are referenced or set forth below. If you do not meet the requirements
for taking paid leave, you remain entitled to take unpaid FMLA leave.

 

For a copy of conditions applicable to sick/vacation/other leave usage please refer to available at:

____ Applicable conditions for use of paid leave:
FMLA leave will begin on February 20, 2018.

12 Weeks of FMLA extends through May 15, 2018.
A recertification is required by the employee prior to May 15, 2018.

 

 

 

 

 

Once we obtain the information from you as specified above, we will inform you, within 5 business days, whether your leave will be designated as
FMLA leave and count towards your FMLA leave entitlement. If you have any questions, please do not hesitate to contact:

at

PAPERWORK REDUCTION ACT NOTICE AND PUBLIC BURDEN STATEMENT
it m mandatory for employers to provide employees with notice of their eligibility for FMLA protection and their rights and responsibilities. 29 U.S.C. § 2617, 29
CER. § &25.300(b), (c). It ts mandatory for employers to retain a copy of this disclosure in their records for three years. 29 U.S.C. § 2616; 29 CFR. § 825.500.
Persons are not required to respond to this collection of information unless it displays 4 currently valid OMB control number. The Department of Labor estimates that it
will take an average of 10 minutes for respondents to compicie this collection of information, including the time for reviewing instructions, searching existing data
sources, gatherieg and maintaining the data needed, and completing and reviewing the collection of information. If you have any comments regarding this burden
¢stioute or any other aspect of this collection information, including suggestions for reducing this burden, send them to the Administrator, Wage and Hour Division,
U.S. Department of Labor, Room S-3502, 200 Constitution Ave., NW, Washington, DC 202106. DO NOT SEND THE COMPLETED FORM TO THE WAGE
AND HOUR DIVISION.

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To: Garrison Jones

Sacramento 95815

 

Black Dog Agency LLC

PO Box 1863
Raleigh, NC 27602

Invoice # 6387

919 961 2195 Cass

info@blackdoglegal.com

Ne,

a; | G- CY- 92324

invoice Date: 4115/2020
Invoice Terms: Due on receipt
Client Number: Pro Se

De vers Gty/Min Rais Sues
411372020 Service Complaint- Velocity Technology Solutions cfo RA CSC, Raleigh: Served on Colleen Walsh, rep for 1 65.00 65.00
csc
Total: $65.00

Payment Please make checks
payable to Black Dog Agency, LLC.
A 10% late fee will be charged for
payments received later than 30
days of receipt of this invoice.

Questions Hf you have any questions
about your bill, please contact us at your
convenience and we would be happy to
help.

Thank you for choosing Black Dog Agency
Please visit us at www.BlackDogLegal.com

www. BlackDogLegal.com &
Case 2:19-cv-02374-KJM-EFB Document 43 rredoaneraa pag Ras ED

UNITED STATES DISTRICT COURT —__oLenk. us,
FASTFRN DISRTICT OF CALIFORNIA EASTERN DlaYLOY OF Od

Garrison Jones.

Plainuif,

Velocity Technolags Solutions, Ine.
Defendants.

APR 16 2098

       

Civil Action No. 2:19-CV-2374-K.M FFB

Q!NNF-AV-O2374

: tue! . . - _ —

 

AFFIDAVIT OF SERVICE

I. Erin De La Cruz. do hereby certify that | have served a true and exact copy of the Filed
Amended Complaint on the defendant, Velocity Technology Solutions. Inc. c/o Registered Agent.
Corporate Service Company at 2626 Glenwood Ave.. Suite $50. Raleigh. NC 27608. I personally
delivered said documents to Colleen Walsh. Representative tor Corporate Service Company on

April 13". 2020 at 10:46AM.

I further certify that Lam over the age oF 21 and not an attorneys or a party to this action
and that | am not related by blood or marriage to a party to the action or to the person upon

whom service was made.

Sworn to and subscribed before me
this the {5 of April. 2020.
25

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Pete ff ee
Notary Public .
feel &N ie Cae CA
Printed- Name

 

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My commission expires: SY OZ? SPN i¥se % 1
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2

 

Erin De-tia Cruz
Private Process Server
PO Box 1863
— Raleigh NC 27602
    

SZ) BUSINESS CORPORATION ANNU AIPREPORTP20° 79 01 75 =

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10-2017 . :
NAME OF BUSINESS CORPORATION: Velocity Technology Solutions, Inc.
1389918 Filing Office Use Only
SECRETARY OF STATE ID NUMBER: STATE OF FORMATION: DE E - Filed Annual Report
1389918
AL YEAR END: CA202009 102802

REPORT FOR THE FISCAL 12/31/2019 Gazp20001028
SECTION A: REGISTERED AGENT'S INFORMATION [] Changes

 

 

 

1. NAME OF REGISTERED AGENT: Corporation Service Company

2. SIGNATURE OF THE NEW REGISTERED AGENT:

 

SIGNATURE CONSTITUTES CONSENT TO THE APPOINTMENT
3. REGISTERED AGENT OFFICE STREET ADDRESS & COUNTY 4. REGISTERED AGENT OFFICE MAILING ADDRESS

2626 Glenwood Avenue, 2626 Glenwood Avenue,, Suite 550
Raleigh, NC 27608 Wake County _ Raleigh, NC 27608

SECTION B: PRINCIPAL OFFICE INFORMATION
1. DESCRIPTION OF NATURE OF BUSINESS: Technology Services

2. PRINCIPAL OFFICE PHONE NUMBER: (704) 594-8632 3. PRINCIPAL OFFICE EMAIL: Privacy Redaction

4. PRINCIPAL OFFICE STREET ADDRESS 5. PRINCIPAL OFFICE MAILING ADDRESS

1901 Roxborough Road, Suite 400 1901 Roxborough Road, Suite 400

Charlotte, NC 28211-3492 Charlotte, NC 28211-3492

6. Select one of the following if applicable. (Optional see instructions)

 

The company is a veteran-owned small business

 

 

 

 

The company is a service-disabled veteran-owned small business

 

SECTION C: OFFICERS (Enter additional officers in Section E.)

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME: Chris Heller NAME: Damon Gregoire NAME: Steve Kloeblen
TITLE: Secretary TITLE: Treasurer TITLE: President
ADDRESS: 1901 Roxborough Rd ADDRESS: ADDRESS:
Suite 400 1901 Roxborough Rd, Suite 400 1901 Roxborough Rd, Suite 400
Charlotte, NC 28211 Charlotte, NC 28211 CHARLOTTE, NC 28211-3492
SECTION D: CERTIFICATION OF ANNUAL REPORT, Section D must be completed in its entirety by a person/business
enti .

Chris Heller 3/31/2020

SIGNATURE DATE
Form must be signed by an officer listed under Section C of this form.
Chris Heller Secretary
Print or Type Title of Officer

 

Print or Type Name of Officer

This Annual Report has been filed electronically.
MAIL TO: Secretary of State, Business Registration Division, Post Office Box 29525, Raleigh, NC 27626-0525
